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     COUNTY OF LOS ANGELES
 7
 8                       UNITED STATES DISTRICT COURT
 9                     CENTRAL DISTRICT OF CALIFORNIA
10
11   JULIA MILDENBERGER, in her              Case No. ____________________
     individual capacity and in her capacity
12   as CEO of SOUTHERN
     CALIFORNIA CAT ADOPTION                 EXHIBITS TO NOTICE OF REMOVAL
13   TAILS; a California nonprofit           VOLUME 1 OF 2 VOLUMES
     corporation,
14
                Plaintiff/Petitioner,
15
          vs.
16
     COUNTY OF LOS ANGELES; and
17   DOES 1 through 50, inclusive
18
                Defendants/Respondents.
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                                           1                                1
                       EXHIBITS TO NOTICE OF REMOVAL-VOLUME 1
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 1   TO THE CLERK OF THE ABOVE-ENTITLED COURT:
 2           Attached hereto are the following exhibits, comprised of documents filed with
 3   the state court or emanating from it:
 4     Exh.     Description                           Filed           Vol.      Page
 5      A       Petition                              12/01/2022        1             3
 6      B       Civil Case Cover Sheet                12/01/2022        1            79
 7      C       Civil Case Cover Sheet Addendum       12/01/2022        1            82
 8      D       Summons                               Served
 9                                                    12/06/2022        1            88
10      E       Request for Judicial Notice           12/01/2022        1            90
11      F       Notice of Case Assignment             12/01/2022        1        104
12      G       Notice of Trial Setting Conference    12/01/2022        1        107
13      H       Ex Parte Application for TRO          12/07/2022        1        109
14       I      Proof of Personal Service             12/07/2022        2        143
15       J      Memorandum of Points and Auth.        12/07/2022        2        146
16      K       Minute Order                          12/07/2022        2        186
17      L       Amended Petition                      12/08/2022        2        188
18      M       Proof of Service by Mail              12/08/2022        2        261
19
20
     DATED: January 5, 2023           CARPENTER, ROTHANS & DUMONT, LLP
21
                                            /s/ John J. Stumreiter
22                                    By:________________________________
                                            Jill Williams
23                                          John J. Stumreiter
                                      Attorneys for Defendant/Respondent
24                                    COUNTY OF LOS ANGELES
25
26
27
28
                                                2                                2
                           EXHIBITS TO NOTICE OF REMOVAL-VOLUME 1
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                           Exhibit A

                                                                           3
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Electronically FILE   y Superior Court of California, County of Los Angeles on 12/01/2022 02:58 PM Sherri R. Carter, Executive Officer/Clerk □f Court, by R. Pere:i,Depuly C rlc
                                                                                       22S'fCP04242




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                s     Attorney for Petitioner!Plaintiff
                      JULIA MILDENBERGER
                6

                 7

                 8                                SUPERIOR COURT OF THE STATE OF CALIFORNIA
                                                                        COUNTY OF LOS ANGELES
                 9
                                                                 . STANLEY MOSK' COURTHOUSE
               10

               11
                      JULIA MILDENBERG~ in her individual)                                                Case No.:         22STCP04242
               12                                        )
                      capacity and in her capacity as CEO of
                      SOUTHERN CALIFORNIA CAT            )
               13                                        )
                      ADOPTION TAILS; a California nonprofit
                                                         )                                                 1. VERIFIED PETITION FOR WRIT OF
               14     corporation,                       )                                                      MANDATE;
                                                         )                                                 2. VIOLATION OF CALIFORNIA
               15               Petitioner/Plaintiff     )                                                      CONSTITUTION, ART 1, §§7 & 13;                                         !

               16
                                                         )
                                                         )
                                                                                                           3. COMPLAlNT FOR DAMAGES                                                    j
                                       vs.                                                                    PURSUANT TO 42 U.S.C. §1983;
                                                         )                                                 4. REQUEST FOR INJUNCTIVE
               17
                                                         )
                       COUNTY OF LOS ANGELES; and DOES 1 )                                                    RELIEF PURSUANT TO CCP §526
               18      through 50, inclusive,            )
                19                                                                              ) [Request for Judicial Notice; Declaration of
                                      Respondents/Defendants                                    ) Marla Tauscher; Declaration of Julia
               20                                                                               ) Mildenberger; and Ex Parte Application for
                                                                                                ) Temporary Restraining Order filed
               21                                                                               )
                                                                                                  concurrently]
                                                                                                )
               22                                                                               )
                                                                                                )
               23                                                                               )                                                                                      ,
                                                                                                )
               24                                                                               )       Dept.:
                                                                                                )       Judge:
                25                                                                              )
                                                                                                )       Hearing Date:
               26                                                                               )       Hearing Time:
                                                                                                )
                27
                                                                                                )
                28



                                                       JULIA ~ENBERGER'S PETITION FOR WRIT OF MANDATE AND
                                                          COMPLAINT FOR DAMAGES PURSUANT TO 42 U.S.C. §1983

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1           Petitioner/Plaintiff Julia Mildenberger (hereinafter "Petitioner/Plaintiff'), by and through

2    her undersigned counsel, brings this action for a writ of mandate pursuant to California Code of

3    Civil Procedw·e section 1085, et. seq., Violation of California Constitution, Art 1, sections 7
4    and 13, Complaint for damages pursuant to 42 U.S.C. §1983, and for injunctive reliefpmsuant
s    to California Code of Civil Procedure section 526,                alleging as follows against
6    Respondents/Defendants County of Los Angeles and DOES 1 through 50, inclusive:

7           I.      JURISDICTION AND VENUE

8           l.      The Court has jurisdiction over this action pursuant to California Code of Civil

9    Procedure §1085; 42 U.S.C. §1983; and California Constitution Article 6 §10.

10         2.       This Court further has )urisdiction over Defendant because the County of Los

11   Angeles is liable for public employees and private contractors pursuant to California

12   Government Code §815.2 and BJ 5.4.
13          3.      Venue is proper in this Court pursuant to California Code of Civil Procedure

14   Sections 393 and 394 because Defendants are located in and/or conducting business in the

15   County of Los Angeles, California.

16          II.     PARTIES

17          4.      Petitioner/Plaintiff is, and at all times mentioned herein, residing in Littlerock,

18   Los Angeles County in the State of California.

19          5.      Petitioner/Plaintiff is the founder and CEO of a California nonprofit animal

20   rescue organization with. tax exempt status under §50l(c)(3) of the Internal Revenue Code.

21          6.      Defendant County of Los Angeles is a political subdivision of the State of

22   California duly organized and existing under the laws of the State of California Defendant is

23   liable for 1he conduct of its personnel, including the Los Angeles County Department of Animal

24   Control (hereinafter ''LADAC").

25          7.      Defendants DOES 1 to 50, inclusive, are sued herein under fictitious names.

26   Their true names and capacities are not currently known to Petitioner/Plaintiff. When their true

27   names and capacities are ascertained, Petitioner/Plaintiff will amend this complaint by inserting

2&   their tme names and capacities.



                          JULIAMILDENBERGER'SPBTITIONFOR WRIT OF MANDATE AND
                             COMPLAlNTFORDAMAGBSPURSUANTT042U.S.C.§1983

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           8.         Petitioner/Plaintiff is informed and believes and herein alleges that each of the

2    fictitiously named defendants is responsible for the harm set forth herein and that

3    Petitioner/Plaintiff's damages as herein alleged were caused by those defendants.

4          9.         Petitioner/Plaintiff is informed and believes, and based thereon alleges, that at all

s    times relevant hereto, each of the Respondents was the agent, servant, representative, joint

6    venturer or employee of each of the remaining Respondents and in doing the things hereinafter

7    alleged, each Respondent was acting within the course and scope of said agency. servitude,

s    representation, joint venture, or employment, with the advance knowledge, permission, consent,

9    acquiescence, authorization, direction or subsequent ratification of each and every remaining

1o   Respondent.

11          ill.      PETITIONER/PLAINTIFF HAS A BENEFICIAL INTEREST IN THE
12   ANIMALS THAT ARE THE SUBJECT OF THIS LITIGATION
13         10.        Petitioner/Plaintiff has a beneficial interest in the animals that were seized from

14   her property on October 26, 2022 as the CEO of a rescue organization that maintains the animals.

15          IV.       STATEMENT OF THE CASE
16           10.      Petitioner/Plaintiff runs a non-profit animal rescue called Southern California Cat

17   Adoption Tails (hereinafter "SCCAT") from her property in Littleroclc, California.

18           11.      Petitioner/Plaintiffhas saved the lives of thousands ofcats, kittens, and dogs since

19   the rescue's inception in 2006.
20           12.      Petitioner/Plaintiff has held animal facility licenses (hereinafter "kennel

21   permits") for both cats and dogs issued by LADAC since 2011 when she moved to Littlerock,

22   California Attached hereto as Exhibit 1 are true and correct copies of the kennel permits issued

23   by LADAC in September 2021 valid through September 2, 2022.

24              13.   Petitioner/Plaintiff has several volunteers who help her to feed the animals, clean

25   the facilities, and provide care and comfort for the rescue animals on a daily basis.

26              14.   Per the terms of the kennel permits, Petitioner/Plaintiff is allowed to house 115

27   cats and 30 dogs on her property.

28




                            JULIAMILDENBERGER'S PBTITIONFOR WRIT OF MANDATE AND
                               COMPLAINTFORDAMAGESPURSUANTTO 42 U.S.C. §1983

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1           15.     Petitioner/Plaintiff's property is inspected by LADAC every year as a condition
2    ofrenewal of the kennel permit.
3           16.     Every year, Petitioner/Plaintiff has received a grade of"A" based on inspections
4    by LADAC personnel. Attached hereto as Exhibit 2 are true and correct copies of the inspection

5    reports, from 2016-2022, indicating Petitioner/Plaintiffs "A" rating from LADAC personnel.
6    The inspection reports from previous years are missing and were likely taken by LAD AC in thejr_
7    «box of Misc. documents".
 8           17.     Since the beginning of the COVID-19 pandemic, in approximately March 2020,
9    LADAC (and many other Southern California animal control agencies, including Los Angeles

10   Animal Services - City animal control) have refused to take in cats or kittens despite the fact
11   that taking in abandoned and stray animals is quite literally tlie.ir job.
12           18.     Since early 2020, LADAC personnel have routinely been telling animal rescue
13   organizations and individuals to just dU1np stray and abandoned animals where they found them,
14   on the streets, in fields, or somewhere else.
15           19.     As a result of LADAC's unofficial policy of refusing to take in animals,
16   Petitioner/Plaintiff has had litters of kittens and puppies dumped just outside the gate of her

17   facility for over two years.

18           20.     In just the six weeks leading up to the raid on her property alone, 5 or 6 litters of
19   kittens (about 30 kittens in total) were dumped outside Petitioner/Plaintiff's property.

20           21.     Similarly, a litter of 8 puppies was abandoned just outside Petitioner!Plaintiff's
21   gate a week before the raid on October 26, 2022. Was Petitioner/Plaintiff supposed to tum her

22   back on those kittens and puppies and abandon them to fend for themselves in the high desert?

23           22.     In mid-August 2022, Petitioner/Plaintiff submitted the required paperwork and
24   payment for the renewal of her kennel permit which was set to expire on September 2, 2022 and

25   has been waiting for LADAC to conduct its annual inspection.
26           23.     To that en~ on October 18, 2022, Petitioner/Plaintiff's counsel contacted
27   LADAC personnel in charge of licensing, Lisa Eldridge (hereinafter "Eldridge") to inquire about

28   the status of the inspection.



                           JULlAMILDENBERGER.'S PETITION FOR WRIT OF MANDATE AND
                              COMPLA1NT FOR DAMAGES PURSUANT TO 42 U.S.C. §1983

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1            24.     Eldridge responded to counsel 1hat day by falsely stating," ... our business license

2     inspectors are backlogged and we don't anticipate being       011t for   several weeks." Attached
3     hereto as Exhibit 3 is a true and correct copy of the October 18. 2022 email exchange between

4     Eldridge and Petitioner/Plaintiff's counsel.
5            25.     At the time she responded, Eldridge had no intention of conducting an inspection

6     and was already well into the planning of herraid on Petitioner/Plaintiffs property a week later.
7            26.     Instead of conducting an inspection, Eldridge showed up at Petitioner/Plaintiff's

8     property early on the morning of October 26, 2022 with. approximately 12 LADAC personnel

9     and an additional 12 Los Angeles Counfy Sheriff Department deputies (hereinafter "LASD").

             27.     Petitioner/Plaintiff had taken several cats to the LADAC Palmdale facility early

11    on the morning of October 26, 2022 to have them spayed and neutered.

12            28.    When she arrived home, after entering the property, Petitioner/Plaintiff went to

13    close the gates to the prope1ty and was accosted by a dozen LASD personnel in full riot gear

14    with guns drawn - for a raid on a cat rescue!

15            29.     LADAC personnel who take part in such raids are, at least theoretically, qualified

16    to serve search warrants and make arrests without law enforcement personnel if they have taken

17    the required courses under California Penal Code §832 (hereinafter "PC"), but they routinely

18    bring in police for theater.

19            30.     There are no allegations in the search warrant of potential violence. dangerous

20    suspects, weapons, drugs, or anything that would necessitate an anned response by police in full

21    riot gear.

22            31.     LASD deputies' role during the raid appears to have been to intimidate

23    Petitioner/Plaintiff and to provide dramatic effect

24            32.     LASO deputies ordered Petitioner/Plaintiff to exit the property, held her hands

25    behind her back, and locked her in the back seat of a Sheriff car for more than an hour and a half,

.26   while refusing to tell Petitioner/Plaintiff why they were there.

27            33.     Petitioner/Plaintiffs granddaughter, Angel, was similarly locked in a different

28    LASD vehicle, for nearly two hours.



                            JULIA MILDENBERGER'S PETITION FOR WRIT OF MANDATE AND
                               COMPLAINT FOR DAMAGES PURSUANT TO 42 U.S.C. §1983

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I           34.     During the raid, another of the volunteers who helps care for the rescue animals

2    overheard some LASD deputies quite happily discussing the fact that they were being paid time

3    and a half to participate in the LADAC raid, despite the fact that they were primarily present for

4    intimidation not function.
5           35.     LASO deputies stood around, watching, while LADAC personnel ransacked the

6    animal kennel areas, outbuildings, and Petitioner/Plaintiff's residence, removing animals and

7    whatever else they decided to take.
8           36.     Only when Petitioner/Plaintiff was released from the sheriff car, was she told that
9    the reason they were there was to seize all of the animals 011 the property.
10           37.    Petitioner/Plaintiff was not infmmed of the existence of a search warrant until

11   LADAC and LASD personnel were leaving her property, at approximately 4 :00 p.m., when

12   someone handed Petitioner/Plaintiff a copy of the search warrant -                    without the

13   statement/affidavit of probable cause - as they were exiting her property. Attached hereto as
14   Exhibit 4 is a true and correct copy of the search warrant as it was pmvided to Petitioner/Plaintiff

15   after LADAC had removed the animals from her property.
16           38.    According to a list of items scrawled on a piece of paper and appended to the end

17   of the search waiTant, LADAC seized approximately 199 live cats, approximately 35 dogs, 2

18   tortoises, l chinchilla, and approximate'Jy 7 animal carcasses that had been placed in a freezer

19   pending proper disposal. The list also included 1 box of miscellaneous paperwork. In other

20   words, LADAC does not know what it seized.

21           39.     Had anyone bothered to ask Petitioner/Plaintiff about the deceased animals in the

22   freezer, they would have learned that one animal was going to be taken to a lab for a necropsy,

23   two of them were going to be taken for cremation,. one was a stillborn puppy, one was a feral

24   kitten that died shortly after birth and 1he other was a very old hamster that was being cared for

25   by Petitioner!Plaintiff for a friend who has terminal cancer.

26           40.     But, no one asked Petitioner/Plaintiff about those animals because the truth does

27   not suppmt LADAC's narrative or the raid on Petitioner/Plaintiff's property.

28




                          JUllAMil,DENBER.GER'S PETITION FOR WRIT OF MANDATE AND
                              COMPLAJNTFOR DAMAGES PURSUANT TO 42 U.S.C. §1983

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I              41.    Among the animals seized were 3 kittens who are very sick and were under
2    veterinary care at a cost of over $2,000 for each kitten to date.
3              42.    Those kittens require medication that is very expensive and is very difficult to

4    source.
5              43.    Furthennore, those kittens had already been adopted by third parties and must be

6    given to their new owners without delay.
7              44.    Since seizing Petitioner/Plaintiff's animals, LADAC has ignored all of the

8    statutory requirements that govern such endeavors, namely several provisions of California

9    Penal Code (hereinafter "PC") §597.1, which governs the seizure of animals in cases of
10   suspected neglect/abuse.
11             45.    PC §597.1 is a complex statute, with 13 subsections, many ofwhich are intended
12   to safeguard animal owners' Constitutional right to due process.
13             46.    Petitioner/Plaintiff was not arrested and no charges have been filed against her.
14             47.    According to a press release issued by LADAC on Monday, October 31, 2022,

15    LADAC has admitted that it had no justification to seek a search warrant, especially where the

16    affiant claimed that there is evidence that "tends to show that a felony has been committed".

17    Attached hereto as Exhibit 5 is a true and correct copy of the press release issued and sent by

18    email to hundreds, if not thousands, of people, including media.

19             48.    If LADAC personnel had even a basic understanding of the laws they are paid to

20    enforce, they would know that the allegations in their press release, if proven, are misdemeanors

21    - not felonies or do not constitute crimes at all.

22             49.    For example, in the press release, LADAC alleged "failure to provide proper

23    medical care for animals." That is an allegation of animal neglect which, if proven, would be a

24    violation of PC §59°?. 1, which is a misdemeanor, by statute.

25             50.    LADAC further claims that they found evidence of the practice of veterinary

26    medicine without a license.

27              51.   However, there is no law that prohibits a person from treating their own animals.

28    California Business and Professi.ons Code §4827 provides. in relevant part:



                            JULIAMILDENBERGER'SPETITIONFORWRITOFMANDATEAND
                               COMPLAINT FOR DAMAGES PURSUANT TO 42 U.S.C. §1983

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1                    "(a) Nothing in this chapter prohibits any person from:
2                        (1) Practicing veterinacy medicine as a bona fide owner of one's animals.
3                        This exemption applies to the following:
4                            A. The owner's bona fide employees;
5                            B. Any person assisting the owner; provided that the practice is performed
6                            gratuitously." See Petitioner/Plaintiffs Request for Judicial Notice.
7            52.     In short, treating one's own animals is not a Cl'ime.
8            53.     LADAC personnel should at least be aware of the laws they are paid to enforce,

9    but clearly, they are not.
IO           54.     If LADAC persoilllel did know the applicable laws, they would also know that
11    they could not possibly have had a good faith belief that Petitioner/Plaintiff had engaged in

12    behavior that could be charged as a felony.

13           v.      DUE PROCESS AND CALIFORNIA LAW REQUIRE A HEARING
14   PRIOR TO THE SEIZURE OF PROPERTY (INCLUDING ANIMAi$) BY THE
15    GOVERNMENT
16            55.    Where a person's property is taken by the government, the due process clause of

17    the Fourteenth Amendment requires some form of notice and a hearing. Beaudreau v. Superior

18    Court (1975) 14 Cal.3d 448, 458; Mathews v. Eldridge (1976) 424 U.S. 319.
19            56,     « Absent    extraordinary circumstances justifying resort to summary procedures, the

20    hearing must take place before the property is taken." AB explained in Fuentes v. Shevin (1972)

21    407 U.S. 67, 81-82. "If the right to notice and a hearing is to serve its full purpose, then, it is
22    clear that it must be granted at a time when the deprivation can still be prevented." In other

23    words, before the deprivation of property.

24            57.     Indeed, California Penal Code §597.1, the only statute tl1a1 provides for die

25    seizure of tT,e animals in tliis case, sets forth specific procedures for hearings related to the
26    seizure of animals in cases of suspected neglect.

27            58.     PC §597.1 contains pre- and post-seizure hearing provisions in subsections (f)

28    and (g) that were added to PC §597.1 in 1990 by AB35, which recognized the need for due



                            JULIA Mll.DENBERGER'S PETITION FOR WRIT OF MANDATE AND
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1    process with respect to the seizure of animals. Attached hereto as Exhibit 6 is a true and correct
2    copy of the relevant portion of the Legislative History of AB35. See also Petitioner/Plaintiffs

3    Request for Judicial Notice.
4            59.     Subsection (g) requires a pre-seizure liea,·ing where there is no need for an

5    innnediate seizure of animals.
6            60.     LADAC made no attempt whatsoever to comply with the pre~seizure hearing

7    requirements of PC §597.1, because they were intent on seizing animals regardless of the facts.
g            61.     PC §5 97.1 (f) permits the seizure of animals prior to a hearing only where there is
9     a "reasonable belief that prompt action is required to protect the health or safety of the animal or

10   the health or safety of others."
11           62.     There are no facts cited in the search warrant that could have led to a reasonable

12    belief that an immediate seizure of the animals was necessary or justified.

13           63.     Interestingly. there are no facts alleged in the subsequent press release issued by

14    LADAC that would constitute exigent circumstances.

15            64.     PC §597.1 (f) sets forth the requirements and procedures for a "post-seizure
16    l1earil1g to determine die validity oftlie seizure or tl,e impoun.dment or both", all of which have
17    been ignored by LADAC. See Petitioner/Plaintiff's Request for Judicial Notice.

18            65.     The seizing agency is reguired to post or personally serve the owner or
19    custodian of the animals with notice that he/she is entitled to a hearing to challenge the validity

20    of the seizure or impoundment.

21            66.     That notice is required to be personally served or posted at the property from

22    which the animals were seized witliin 48 liours oftlie seizure. excluding weekends and holidays.

23    PC §597.1(/)(1).
24            67,     In this case, LADAC was required to post notice of the se1ZU.Te and
25    Petitioner/Plaintiffs right to a post~seizure hearing by end of day Friday, October 28, 2022.

26            68.     As of this writing, 9 days after the seizure of the animals, LADAC has failed to
27    post notice of a post-seizure· hearing, in violation of State law and Petitioner/Plaintiff's

28    Constitutional right to due process.



                            JULIA MlIDENBERGE.R'S PETITION FOR WRIT OF MANDATE AND
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             69.     LAD AC has also failed to provide any information about the disposition of the

2    animals and LADAC' s fees for holding the animals, among other things~ despite written requests

3    from Petitioner/Plaintiff's counsel
4            VI.     THERE WERE NO EXIGENT cmCUMSTANCES CITED THAT
5    WOULD JUSTIFY SEIZURE OF ANIMALS WITHOUT A PRE-SEIZURE HEARING
6            70.     There is very little published, cit.able case law related to PC §597.1. However,

7    there is one case that sets the standard for seizure of animals without a pre-seizure hearing.
8            71.     The language of PC §597.1 that authorizes animal control to immediately seize
9    animals, without a pre-seizure hearing, "is the equival.ent of the exigent circumstances

10   exception familiar to search and seizure law." Broden v. Marin Humane Society (1999) 70 Cal.

11   App. 4th 1212. 1220·1221.
12            72.     In Broden, the owner of an exotic pet shop had abandoned the store and left the

13    animals inside. After getting a report of a very strong odor emanating :from the pet store, an

14    employee of Marin Humane Society (hereinafter "MHS") went to the store.

15            73.     From outside the store, the MHS employee smelled the stench of rotting animal
16    carcasses.

17            74.     The doors were locked and the blinds were closed, but she could see a lot of flies

18    inside the store and flies trying to get into the store.

19            75.     She tried multiple times to contact the store owner, Steve Broden, on three

20    different phone numbers, but got no answer.

21            76.     The court reasoned that MHS's entry and seizure of animals, without a pre-

22    seizure hearing, was warranted based on the overwhelming smell of decaying dead animals.

23            77.     The facts of this case are nothing like those in Broden. In fact, Petitioner/Plaintiff

24    has received an "A" grade every year from LADAC's own inspectors.

25            78.     LADAC did not cite any facts or evidence in the search warrant that constitute

26    exigent circumstances such that convening a pre-seizure hearing would have caused harm to
27    any of the animals.

28




                            JULIA MJLDENBERGER'S PETITION FOR WRIT OF MANDATE AND
                               COMPLAINT FOR DAMAGES PURSUANT TO 42 U.S.C. §1983

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1            79.     Even after the raid, LADAC has not cited any facts or evidence, in their press
2    release, that would rise to the level of exigent circumstances.
3            80.     Had LADAC personnel been sufficiently familiar with applicable laws, they

4    would have known that the proper procedure, in tlte absence of exigent circ11mstances is that

5    which is outlined in PC §597.1 (g):
6
                     "Where the need for immediate seizure is not present and before
7
                     the commencement of any criminal proceedings authorized by this
8                    section, the agency shall provide the owner or keeper of the animal,
                     if known or ascertainable after reasonable investigation, with the
9                    opportunity for a hearing before anv seizure or unpoundment of
                     tlie tutimal. The owner shall produce the animal at the time of the
10
                     hearing unless, before the hearing, the owner has made
11                   arrangements with the agency to view the animal upon request of
                     the agency, or unless the owner can provide verification that the
12                   animal was humanely euthanized.., [emphasis added].
13
             81.     Pursuant to the pre-seizure notice and hearing requirements, if LADAC personnel
14
      had credible evidence of animal neglect they were required to post notice at Petitioner/Plaintiff's
15
      property or personally serve her with notice that she was entitled to a hearing prior to the seizure
16
      of the animals at which Petitioner/Plaintiff could have brought in the animals in question and/or
17
      records or other evidence to show that the animals were not in fact neglected
18
              82.    A pre-seizure hearing would have been convened within 48 hours of the request
19
      for such a hearing. PC §597.1 (g){2j.
20
              83.    As such, unless LADAC had evidence, he/ore the seizure of the animals that
21
      there were animals in imminent danger of dying, and that would have been dead or seriously
22
      banned if they had wai1ed 4& hours and held a pre-seizure hearing, there were no exigent
23
      circumstances that would justify the seizure of animals without a pre-seizure hearing.
24
              VII.    A SEARCH WARRANT IS NOT A SUBSTITUTE FOR DUE PROCESS
25
      AND DOES NOT NEGATE THE PRE-SEIZURE OR POST-SEIZURE HEARING
26
      REQUIREMENTSUNDERPC 597.1
27

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                           Jlil,IAMILDENBERGER'S PEillION FOR WRlT OF MANDATE.AND
                                 COMPLAINT FOR DAMAGES PURSUANT T042 U.S.C. §1983

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              84.     There is a common misconception among animal control personnel and their

 2    attomeys that where animals are seized pmsuant to a search warrant, they are not required to
 3    convene a pre-seizure hearing.
 4            85.     There is nothing in PC §597. J that supports that contention.       That position
 5    appears to be a misinterpretation of the law or just plain wishful thinking.
 6            86.     The purpose of a pre-seizure hearing is to provide the animal owner notice of tbe

 7    allegations and an opportunity to be heard prior lo tlie deprivation of their propertv (animals)
 8   by a government entity.
 9            87.     Seizing animals, without a pre-seizure hearing does not provide an opportunity to
10   be heard, which is expressly provided for inPC§597.l(g).
11            88.     A post-seizure hearing is the only opportunity for animal owners to challenge the
12    validity of the seizure of their animals prior to the filing of criminal charges.
13            89.    Animal control agencies routinely wait months to file criminal charges, while
14    arbitrarily assessing outrageous fees, and demanding payment of those fees as a condition of
15   maintaining ownership of the seized animals.
16            90.     Allowing animal control agencies to do an end-nm around justice by obtaining a

17   search warrant, while ignoring statutory safeguar~ frustrates the purpose of the due process
18    clauses of the California and United States Constitutions.

19            VIll. LADAC HAS IGNORED ALL APPLICABLE LAW AND HAS FAILED
20   TO PROVIDE FOR A POST~SEIZURE HEARING AS REQUIRED BY STATUTE
21            91.    LADAC is completely ignoring applicable law in this case. Even if LADAC

22    personnel believed they were justified in seizing the animals without a pre-seizure hearing, there
23    is still a requirement of a post-seizure hearing. PC §597.l (!).

24            92. - LADAC was required to either personally serve Petitioner/Plaintiff: or post at her

25   property, withi1i 48 hours of tl,e seizure, a notice of her right to a post-seizure hearing. PC
26   §597.l(J)(l).
27            93.     Petitioner/Plaintiff would have 10 days from receipt of the notice to request a

28   hearing, which is required to be convened within 48 hours of receiving the request for a hearing.



                           ffiLIA MILDENBEROER.'S PETITION FOR WRIT OF MANDATE AND
                               COMPLAINT FOR DAMAGES PURSUANT TO 42 U.S.C. §1983

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1            94.       LADAC has done lli!J:!LOf those things. As of this writing, 9 days after the

2    seizure, LADAC has not served notice of a post-seizure hearing on Petitioner/Plaintiff or her

3    counsel.
4            IX.       LADAC HAS FORFEITED ITS ONLY OPPORTUNITY TO DEEM THE
5    SEIZURE OF PETITIONER/PLAINTIFF'S ANIMALS VALID AND CANNOT
6    IMPOSE FEES FOR THE SEIZURE ORIMPOUNDMENT OF THE ANIMALS
7            95.       The purpose of a post-seizure hearing is explicitly set forth in PC§597.1 (!), '"to

8    determine the validity of tile seizure or impoundment, or both."

9            96.       Because LADAC has failed to adhere to any of the requirements of the law

10    governing the seizure of animals, it has forfeited jurisdiction and its only opportunity to deem

11    its seizure of the animals valid and to charge fees for impoundment or storage of the animals.

12           97.       Pursuant to PC §597.l(j)(2), "Failure of the owner or keeper, or of their agent, to

13    request or to attend a scheduled hearing shall result in a forfeiture of any right to· a postseizure

14    [sic] hearing or right to challenge their liability for costs incurred.,,

15              98.    If an animal owner forfeits his or her right to a post-seizure hearing by failing to

16    request a hearing, it stands to reason that an animal control agency's right to deem an animal

17    seizure valid is forfeited when it fails to even mention a post-seizure hearing much less convene

18    one.

19              99.     Similarly, if an animal owner who fails to request a post-seizure hearing forfeits

20    the right to contest the amount of fees imposed, an animal control agency must be prevented

21    from imposing fees at all, where it has forfeited its one and only opportunity to deem the seizure

22    valid by ignoring all applicable law.

23              100.    "The agency, department, or society employing the person who directed the
24    seizure shall be responsible for the costs incurred for caring and treating the animal, if it is

25    determined in the postseizure [sic] hearing that the seizing officer did not have reasonable

26    grounds to believe very prompt action, including seizure of the animal, was required to protect

27    the health or safety of the animal or the health or safety of others."

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                             JULIAMlLDENBERGER'SPETITIO NFORWRITOFMANDATEAND
                                COMPLAJNT FOR DAMAGES PURSUANT TO 42 U.S.C. §1983

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 1              101.   Where there was no post-seizure hearing at all, LADAC has no legal grounds for

2     assessing fees against Petitioner/Plaintiff for the impoundment or storage of her animals.

 3              X.     REVENUE, NOT JUSTICE, COMPELS LADAC TO KEEP THE
 4    ANIMALS AS THEY CHARGE SUBSTANTIAL DAILY IMPOUND FEES FOR EACH
 s ANIMAL
 6              102.   The daily "boarding" rate that LADAC charges for impounded animals is

 7    unknown because they refuse to answer a direct question about their fees, despite the fact that

 8    such information should be readily available to them given that they have been seizing and
 9    impounding animals for decades.

10              103.   The daily "boarding" rates charged by animal control agencies in such cases vary,
11    but are typically in 1he range of$30-50 per day per dog.

12              104.   Those rates are arbitrary and capricious and are completely unrelated to the actual
13    cost of care of the animals.
14              105.   It is more likely than not that LADAC will similarly cite extortionate rates for
15    "boarding".

16              106.   As a matter of basic fairness, to avoid the incurrence of unnecessary expe1,ses
17    animal owners and custodians are entitled to a Aearing before their animals are seized or, if the

I8    circumstances justify a seizure without notice and a hearing, they are entitled to a prompt hearing

19    after the animals are seized. Carrera v. Bertaini (1976) 63 Cal. App. 3rd 721, TI9.
20              107.   The whole point of adding pre- and post-seizure hearing provisions to PC §597.1

21    in 1990 was to provide an opportunity for due process, something for which LADAC has no
22    regard.

23              108.   In fact, LADAC appears to be more interested in profiting from the continued
24    impound of the dogs and bragging about it publicly than in complying with laws that prohibit

25    them from doing just that LADAC will charge daily rates over and above their acrual costs.
26              109.   They will also likely tack on ridiculous, arbitrary, charges for veterinary exams
27    and staff time despite the fact that LADAC employs its own veterinarians in-house and staff is

28    present whether these animals' are impounded or not



                            JULIAMILDENBERGER'S PETITION FOR WRIT OF MANDATE AND
                               COMPLAJNTFORDAMAGES PURSUANTT042 U.S.C. §1983

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1              110.    LADAC has a powerful profit motive for disregarding the provisions of PC
2    §597. l that require them to respect the due process rights of animal owners and custodians.
3              111.    The longer LADAC holds the animals, the more money they will charge
4    Petitioner/Plaintiff, witl1011t any opportunity to contest tlie amount tliey demand for impound
5    and "boardingufees.
6              112.    Permitting LADAC to retain custody of animals for profit does not serve justice
7    nor does it serve any legal purpose as the dogs are of zero evidentiai.y value. It only serves to
8     enrich the County of Los Angeles at the expense of Petitioner/Plaintiff
9              113.    Allowing LADAC to retain custody of the animals they seized has additional
10    deadly consequences for other animals.
11             114.    Because the seized animals are taking up space at LADAC facilities, other dogs
12    and cats that are impounded, or were previously impounded, will be killed due to a lack of kennel
13    space.
14             XI.     THE AFF'IANT COULD NOT HAVE HAD A GOOD FAITH BELIEF
15    THAT ANY ALLEGATIONS INTHESEARCHWARRANT CONSTITUTE A FELONY
16             115.    There are no allegations of felonious conduct in the search warrant.
17             116.    In its October 31, 2022 press release, bragging about the raid, LADAC claims
18    that Petitioner/Plaintiff's rescue organization failed to provide proper medical care of the animals
19    and exceeded animal limitation requirements.

20             117.    The animal neglect issue has been discussed at length here and is, by statute, a
21    misdemeanor, subject to proof at trial.
22             118.    As far as whether Petitioner/Plaintiff was "exceeding animal limits"~ that is
23    related to the kennel permits that Petitioner/Plaintiff has for 115 cats and 30 dogs and is not even
24    criminal, much less felonious.
25              119.   Issues related to alleged violations of licenses and permits are strictly
26    adm.inistrauve,notcriminal.

27             120.    In fact, on March 23, 2022, a LADAC employee, Tony Apodaca (hereinafter
28    "Apodaca'') issued a Notice to Comply to Petitioner/Plaintift in which he ordered her to reduce



                             JULIAMILDENBERGER'SPE11TIONFOR WRITOFMANDATEAND
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l    the number of cats on her property from 115 to 75 within a month, without any citation to law
2    or any reason.
3               121.    In keeping with LADAC employees' ignorance of the law and procedures,
4    particularly those related to due process, Apodaca disregarded the entire administrative process

5    for amending permits already issued by LADAC.
6               122.    In response to thatNotice to Comply, Petitioner/Plaintiff's counsel contacted Lisa
7    Eldridge (hereinafter "Eldridge"), Apodaca's boss, to inform her that LADAC could not

8    arbitrarily order Petitioner/Plaintiff f? do reduce the number of cats, which is a modification of

9    her kennel permit, without an administrative hearing.
10              123.    A meeting was convened with Eldridge, a member of LADAC administration,
11   Petitioner/Plaintiff, and her counsel, on April 26, 2022, duting which Eldridge was forced to

12    concede that LADAC could not modify Petitioner/Plaintiff's permit without a hearing and the

13    order to reduce the number of cats was subsequently vacated. Attached hereto as Exhibit 7 is a

14    true and correct copy of a May 3, 2022 email exchange between Eldridge and
15    Petitioner/Plaintiff's counsel confirming that the order to reduce the number was vacated.

16              124.    The raid on Petitioner!Plaintiff's property appears to be motivated, atleast in part,
17    by a personal grudge held by Eldridge because she could not get away with arbitrary and

18    capricious orders for Petitioner/Plaintiff to reduce the number of cats at her facility.

19              125.    Common sense dictates that a violation of a permit law would not constitute a

20    felony.

21              ·126.   Most jurisdictions have administrative procedures for matters related to permits.
22              127.    Had anyone from LADAC bothered to spend five minutes on the internet, they
23    could have easily found the applicable laws, hut they would have found that they were not

24    entitled to get a search warrant or to seize Petitioner/Plaintiff's animals under the circumstances.

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                              JULIAMILDENBERGER'S PETITION FOR WRIT OF MANDATE AND
                                 COMPLAINT FOR DAMAGES PURSUANT TO 42 U.S.C. §1983

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1            XII.    ANIMALS CANNOT TESTIFY AND ARE NOT EVIDENCE OR
2    WITNESSES
3            128.    "Evidence" is defined as testimony, w1itings, material objects~ or other things

4    presented to the senses that are offered to prove the existence or nonexistence of a fact"

5    California Evidence Code §140.
6            129.    What possible value could these animals have as e-vidence?              The animals

7    themselves are not evidence of anything other than the fact that they exist.
8            130.    If the allegation is that Petitioner/Plaintiff was not providing care for the animals,
9    beyond examining the animals and recording information about the animals and documents that

10   were seized, there is nothing the animals themselves can add to that evidence.
1l           131.    If LADAC alleges that the animals were mistreated by Petitioner/Plaintiff, the
12    animals should have immediately been examined by a licensed veterinarian.
13           132.    The results of a veterinary exam may constitute evidence, but the animals
14    themselves are of no evidentiary value to LADAC, yet they are being treated like criminals.

15           133.    Dogs and cats cannot appear as witnesses in legal proceedings, and even if they

16    could, our legal system does not allow for the pre~trial detention of potential witnesses, but that

17    is effectively what LADAC is doing.
18           134.    The evidence needed to support claims of animal neglect could have been, and

19    should have been, gathered immediately upon impotmd.

20           135.    Continued detention of the animals is cruel and inhwnane and is not justified by

21    applicable laws. It also has deadly consequences for other animals with the misfortune of ending
22    up at any LADAC facility who will be killed to make space for the seized animals_ It is a lose-

23    lose situation for all animals involved.

24            XIII. THE LAW DOES NOT CONTEMPLATE PERMANENT DEPRIVATION
25    OF ANIMALS IN CASES OF ALLEGED NEGLECT NOR DOES IT APPLY TO
26    ANIMALS LIVING ON AN OWNER'S PROPERTY
27

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                           JULIAMlLDENBERGER'S PETITION FOR WRIT OP MANDATE AND
                              COMPLAlNTFORDAMAGES PURSUANT TO 42 U.S.C. §1983

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             136.    PC §597.1 {a}(l) specifically references ''strap or abandoned anbnals". The
2     Legislature has clearly limited the seizure of animals mcases of alleged neglect to those animals
3     that are found without their ow11ers:
4                •   Any peace officer, humane society officer) or animal control officer shall take
 5                   possession of the str(l11 or abandoned animal and shall provide care and
 6                   treatment for the animal until the animal is deemed to be in suitable condition !!!.
7                    be returned to the owner. PC §597.1 (a)(l).
 8            137.   PC §597.1 further contains multiple provisions that specifically provide for the
 9    return of seized animals when the animals are fit to be returned and when the owner demonstrates
lo    that he/she can provide the necessary care for her animals:
11               •   Any peace officer, humane society officer, or animal contTol officer shall take
12                   possession of the stray or abandoned animal and shall provide care and treatment
13                   for the animal until the animal is deemed to be in suitable condition· to be re.turned
14                   to lite owner. PC §597.l(a)(l);
15               •   The animal shall not be returned to its owner until the charges are paid and the
16                   owner demonstrates to the satisfaction of the seizing agency or the hearing officer
17                   that 1he owner can and will provide the necessary care for the animal. PC
18                   §597.l(f)(4).
19               •   If the charges are not paid within 14 days of the seizure, or if the owner, within
20                   14 days of notice olavailabil.ity ofthe animal w be returned, fails to pay charges
21                   permitted under this section and take possession of the animal, the animal shall
22                   be deemed to have been abandoned and may be disposed of by the seizing agency
23                   PC §597.l(h);
24               •   If the animal requires veterinary care and the humane society or public agency is
25                   not assured, within 14 days of the seizure of the animal, that the owner will
26                   provide the necessary care, the animals shall not be returned to ifs owner. PC
27                   §597.l(Q;
28




                          JULIA MILDENBERGER.'S PETITION FOR WRIT OF MANDATE AND
                              COMPLAINT FOR DAMAGES PURSUANTT042 U.S.C. § 1983

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1                •   No animal properly seized under this section or pursuant to a search warrant shall
2                    be 1-et11rned to its owner until the owner can demonstrate to the satisfaction of
3                    the seizing agency or hearing officer that the owner can and will provide the
4                    necessary care for the animal. PC §597.1 OJ.
5            138.    LADAC has not even provided notices or hearings as required by law, nor have
6    they provided basic information about the disposition of the animals or the amount of money

7    they intend to charge Petitioner/Plaintiff, much less any indication of when the animals will be

8    available for return to Petitioner/Plaintiff.
9            139.    It is more likely than not that LADAC personnel are not even aware of the
10   provisions of PC §597.1 that clearly provide for the return of animals to their owners when they

11   are deemed suitable for return.
12           140.    Despite the fact that the law clewly contemplates return of animals to their

13   owners, many animal control agencies have adopted an unofficial, and unlawful, practice of

14   extorting money from animal owners by demanding payment for "boarding'' of animals every

15   two weeks.

16           141.    If an owner does not pay whatever ammmt is demanded, biweekly, with.out any

17   breakdown of fees, or any indication of what the payment is for, animal control agencies will

18    deem the animals abandoned and either kill them or give them to third parties.

19           142.    There is notl,ing in the law that permits such a practice, but it is widespread,

20    standard operating procedure, among animal control agencies.

21           143.    Animal owners are forced to pay arbitrary amounts of money for months to
22    maintain their ownership rights in their animals, with no opportunity to contest the dollar

23    amounts.
24           144.    Because animal control agencies have up to a year to file misdemeanor charges
25    against an owner, they often wait months to file charges, if ever, providing themselves an

26    opp01tunity to extort exorbitant amowts of money from owners who are desperate not to lose

27    ownership of their animals.

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                           JULIAMILDENBERGER'S PETITION FOR WRIT OF MANDATE AND
                              COMPLAINT FOR DAMAGES PURSUANT TO 42 U.S.C. §1983

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l            145.      If the due process clauses of the Coµsti.tutions of California and the United States,
2    the seizure of these animals must be invalidated and the animals retumed to Petitioner/Plaintiff

3    immediately, without payment to LADAC.

4            146.      Animals four months and younger are not counted for the purposes of animal

5    limits. Approximately 60 of the cats seized were kittens, under the age of four months. At least

6    8 of the seized dogs were puppies that were younger than four months.
7            147.      If the number of animals returned exceeds the number of animals permitted by

8    Petitioner/Plaintiff s kennel permits, those animals will be housed with fosters or in boarding

9    facilities until they can be adopted by third parties.

10           XIV. THE SEARCH WARRANT OBTAINED BY LADAC IS ABSURDLY
11   BROAD IN SCOPE
12            148.     Based on the language of the search warrant, it appears that the person who

13    drafted it is entirely unfamiliar with criminal law, specifically the purpose and scope of warrants,

14    and likely cut and pasted the contents of a search warrant from the internet or some other source.

15    See Exhibit 4.
16            149.     For example, the search warrant authorizes the seizure of documents and things

17    related to the ownership and maintenance of Petitioner/Plaintiff' s real property and her person,

18    including mortgage statements, lease agreements, utility bills, mail, prescription medications,

19    photographs, clothing, govetnlilent issued IDs (Social Security card and driver's license).

20            150.      The search warrant further authorizes the seizure of all computer hardware and

21    'electronic equipment,, including motherboards, hard drives, laptop computers, digital storage

22    devices, and computer software.

23            151.      Also included in the search warrant is a demand for all computer passwords and

24    other "data security devices designed to restrict access to or hide computer software,

25    documentation, or data... "

26            152.      Petitioner/Plaintiff operates a nonprofit animal rescue organization, not a Ponzi

27    scheme! There is no justification whatsoever for LADAC to demand such personal and private

28    documentation and other things.



                              TIJLIA MlLDENBERGER'S PETITION FOR WRIT OF MANDATE AND
                                  COMPLAINT FOR DAMAGES PURSUANT TO 42 U.S.C. §19&3

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 1            153.    1bere are no allegations of:financial misconduct, so there is no reason whatsoever
 2    for the inclusion of any financial information or any documentation related the ownership of the

 3   real property. computer information, or any of the other things related to money or property other
 4    than animals.
 5                        FIRST CAUSE OF ACTION/CLAIM FOR RELIEF
 6                                      Petition for Writ of Mandate
 7         154.       Petitioner/Plaintiff repeats, realleges, and incorporates by reference all of the
 s    allegations in paragraphs 10 through 153 as if fully set forth herein.

 9         155.       Respondents/Defendants have violated PC §597.1 and California Constitution,
10    Art. 1, sections 7 and 13, by failing to comply with any of the provisions of statutory law in the
11    seizure of Petitioner/Plaintiff's animals.

12         156.       Unless Respondents/Defendants and their agents and assigns are prevented and
13    enjoined :from continued possession of Petitioner/Plaintiff's animals, she will continue to suffer
14    irreparable hmm.

15         157.       Petitioner/Plaintiff has no feasible administrative remedy and no plain, speedy

16    and adequate remedy in the ordinary course of law for the redress of her injury, particularly

17    where LADAC has not filed criminal charges (preventing a motion in criminal court for the

18    return of property) and categorically refuses to provide any information regarding

19    Petitioner/Plaintiff's animals or to hold required hearings in connection with the seizure of the
20    animals.

21         158.       Animals are unlike other types of property, and cannot be warehoused in cold,
22    isolated, concrete cells without any human or animal interaction, yet that is precisely what
23    LADAC is doing to them.

24         159.       Petitioner/Plain.tiff has devoted decades of her life rescuing and providing quality
25    care for unwanted and abandoned animals. Simply put, rescuing animals is her life's mission.

26         160.       Continued impound of Petitioner/Plaintiff is causing irreparable harm to

27    Petitioner!Plaintiff as she has spent countless hours caring for them and finding homes for them.

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                           JULIA MJLDENBERGER'S PETITION FOR WRIT OF MANDATE AND
                              COMPLAINT FOR DAMAGES PURSUANT TO 42 U.S.C. §1983

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1            161.   The injunctive relief sought in this Petition/Complaint is the sole remedy to

2    redress Petitioner's ongoing injury.

3                       SECOND CAUSE OF ACTION/CLAIM FOR RELIEF

4                    Violation of California Constitution Art. 1, Sections 7 and 13

5            162.   Petitioner/Plaintiff repeats, realleges, and incorporates by reference all of the

6    allegations in paragraphs 10 through 153 as if fully set forth herein.

7            163.    The California Constitution, in section 7 of Article 1, prohibits the deprivation of

g    life, hoerty, or property by State actors, without due process.

9            164.    The California Constitution, in section 13 of Article 1, prohibits unreasonable
10   search and seizure of property without a search warrant

11           165.    Respondent/Defendant County of Los Angeles, through LADAC, has deprived

12   Plaintiff/Petitioner of her property conducting an unreasonable search and seizure of

13   Plaintiff/Petitioner's property without even a pretense of due process, ignoring all laws that were

14   specifically enacted to provide due process to animal owners in cases involving the seizure of

15   animals by a government entity like LADAC.
16                        THIRD CAUSE OF ACTION/CLAIM FOR REIJEF
17                                      Violation of 42 U.S.C. §1983

18                     (Fourteenth Amendment to the United States Constitution)

19           166.    Petitioner/Plaintiff repeats, realleges, and incorporates by reference all of the

20    allegations in paragraphs 10 through 153 as if fully set forth herein.

21           167.    The Fomteenth Amendment to the United States Constitution guarantees the right
22    of any person not to be deprived of life, liberty, or property by the State without due process of

23    law.

24           168.    LADAC and LASD personnel were acting under color of State law when they

25    seized Petitioner/Plaintiff's animals.

26           169.    Despite the fact that LADAC obtained a search warrant, by disregarding

27    applicable law, failing to convene either a pre-seizure or post-seizure hearing, they have violated

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                           JULIAMILDENBERGER.'S PETITION FOR WRIT OF MANDATE AND
                              COMPLAJNTFORD.AMAGES PURSUANT TO 42U.S.C. §1983

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I    Petitioner/Plaintiff's right to due process and continue to do so by retaining possession of her

2    animals.

3                        FOURTH CAUSE OF ACTION/CLAIM FOR RELIEF

4                  Claim for Injunctive Relief Pursuant to Cal. Code of Civ. Proc. §526

5          170.       Petitioner!Plaintiff repeats, realleges, and incorporates by reference all of the

6    allegations in paragraphs 10 through 153 as if fully set forth herein.

7          171.       Respondent/Defendant County of Los Angeles has a clear and present ministerial

8    duty to comply with all of tl,e provision ofPC §597.1.

9          172.       Petitioner/Plaintiff has no feasible administrative remedy and no plain, speedy

10    and adequate remedy in the ordinary course of law. The injunctive relief sought in this Petition

11   for Writ of Mandate and Complaint for damages pursuant to 42 U.S. C. § 1983 and accompanying

12    ex parte application for a temporary restraining order is the only relief available to
13    Petitioner!Plaintiff.

14         173.       Petitioner will suffer irreparable harm if the requested relief is not granted, as she

15    will be permanently deprived of possession and ownership of her animals, as LADAC will kill
16    them and/or transfer them to third parties.

17          174.      LADAC must not be permitted to seize animals, disregard applicable laws, refuse

18    to convene any hearings to contest the seizure, and charge money for the storage of the seized

19    animals.

20

21    WHEREFORE, Petitioner/Plaintiff requests:
22            1. Issuance of an order to immediately release all of the seized animals to

23                 Petitioner/Plaintiff and/or her designated agents; or

24            2. Issuance of an order prohibiting LADAC (or its agents) from making any disposition

25                 of the seized animals adverse to the interests of Petitioner/Plaintiff pending the

26                 resolution of this matter in its entirefy; and

27

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                              JULIA Mll..DENBERGER'S PETITION FOR WRIT OF MANDATE AND
                                 COMPLAINT FOR DAMAGES PURSUANT TO 42 U.S.C. § 1983

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                ,,
                .)   . Issuance of an order prohibiting LA DAC from demanding any payment as a
  2                    condition or prerequisite for retaining ownership of the seized animals pending the
  3                    resolution of this matter-in its entirety~ and
 4              4. Actual damages, statutory damages, punitive dm11ages, and such other 1·elief a<;
  5                    provided by applicable statutes; and
  6             5. The costs of bringing this suil, including attorneys' fees pllrsuant lo 42 U.S.C. §1988
  7                    9r other statute~ and
  8             6, Such other relief as tllis Courl deems jus_L proper. and equitable.

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       Dated:              November 3. 2022                            Re 1e&ilfi.llly Submitted,
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Case 2:23-cv-00056 Document 1-1 Filed 01/05/23 Page 28 of 140 Page ID #:30




                                                VERIFICATION
   l

   3   STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
   4           I, Julia Mildenberger, Petitioner/Plaintiff in this matter, have read the foregoing Verified
   s Petition for Writ of Mandate 1md Complaint for Damages pursuant to 42 U.S.C §1983 and I am
   6   familiar with its contents.

   7           The matters stated in the foregoing document are true of my own knowledge except as
   8   to those matters which are stated on information and belief, and as to those matters, I believe
   9   them to be true.
  10           I declare under penalty of perjwy, under the laws of the State of California, that the
  11   foregoing is true and correct,
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  13           Executed on November 3, 2022 atUttlerock. California.
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                            RJLIA MILDF.NBBROBR.'S PETITIO!'f FOR WRIT OF MANDATE AND
                               COMPLAINTmR DAMAGES PURSUANTT04l U.S.C. §19113
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Case 2:23-cv-00056 Document 1-1 Filed 01/05/23 Page 29 of 140 Page ID #:31




           EXHIBIT 1

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               Case 2:23-cv-00056 Document 1-1 Filed 01/05/23 Page 30 of 140 Page ID #:32
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Case 2:23-cv-00056 Document 1-1 Filed 01/05/23 Page 32 of 140 Page ID #:34




           EXHIBIT 2

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          Case 2:23-cv-00056 Document 1-1 Filed 01/05/23 Page 33 of 140 Page ID #:35


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       Case 2:23-cv-00056 Document 1-1 Filed 01/05/23 Page 35 of 140 Page ID #:37


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     Case 2:23-cv-00056 Document 1-1 Filed 01/05/23 Page 36 of 140 Page ID #:38




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Dao~~                                   COUNTY OF LOS ANGELES
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                                                                    COUNTY OF LOS ANGELES
                                                             DEPARTMENT Of ANIMAL CARE ANO CONTROL
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                See attached p;tges for documentation as to the exact nature of the vlolallon(s) obsewed at !he time of inspeGtion.
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                                                                                                COUNTY OF LOS ANGELES
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        Case 2:23-cv-00056 Document 1-1 Filed 01/05/23 Page 59 of 140 Page ID #:61




Marla Tauscher

From:                             Lisa Eldridge <LEldridge@animalcare.lacounty.gov>
Sent:                             Tuesday, October 18, 2022 12:55 PM
To:                               Marla Tauscher
Cc:                               Harold Holmes
Subject:                          Re: SCCA Permlt



Hello Marla,

I apologize for the delay, our business license inspectors are backlogged and we don't anticipate being out for several
weeks. I apologize for the inconvenience.

Lisa Eldridge
County of Los Angeles
DACC - Public Safety Division Manager
31044 Charlie Canyon Road
Castaic, Ca 91384
661-257-3191
Sent from Outlook. Moblle

From: Harold Holmes <HHolmes@animalcare.lacounty.gov>
Sent: Tuesday, October 18, 2022 12:49 PM
To: Marla Tauscher <marla@attymat.com >
Cc: Lisa Eldridge <LEldrldge@animalcare.lacounty.gov>
Subject: RE: SCCA Permit

Good afternoon Ms. Tauscher,

I am copying Lisa Eldridge on this response because she·wm better be able to answer your question and make
arrangements to move things along. Thank you for your understanding.

Sincerely,

 Harold W. Holmes
 He, him, his
 Executive Assistant
 County of Los Angeles
 Department of Animal Care and Control
 5898 Cherry Avenue
 Long Beach, CA 90805
 Tel (562)256-1362/Fax(562)422-3408
 hholmes@animalcare .lacounty.gov




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and may contain confidential and privileged information. Any unauthorized review, use, disclosure, or distribution is
prohibited. If you are not the intended recipient(s), or designated agent, please contact the sender by reply e-mail and
destroy all copies of the original e-mail.




From: Marla Tauscher<marla@att ymat.com>
Sent: Tuesday, October 18, 202211:44 AM
To: Harold Holmes <HHolmes@animalcare.lacounty.gov>
Subject: SCCA Permit


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Hi Harold,

My client, Julia Mildenberger, had a hearing with you and Lisa Eldridge and me on April 26, 2022. We agreed
that LADACC would conduct their inspections on Wednesdays or Fridays so that Ms. Mildenberger could make
sure she is there when officers arrive. She has paid the annual renewal fee for her kennel permit as of
September 2, 2022, but there has been no permit issued, because no one has come to conduct an inspection or
contacted her about it.

She is available on Wednesdays and Fridays and would like to have the inspection done so she doesn't have to
wait around on those days indefinitely. Is there a way to get the inspection done and the pennit reissued?

Thanks,

Marla

Marla Tauscher
Attorney at Law
225 S. Lake Ave., Ste, 300
Pasadena, CA 91101

 Phone: (626) 34S-5777
 Cell: (760) 534-3143
 e-Fax: (760) 444-2742
 www.attymat.com

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           EXHIBIT 4                                                          ::
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Case 2:23-cv-00056 Document 1-1 Filed 01/05/23 Page 65 of 140 Page ID #:67




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Case 2:23-cv-00056 Document 1-1 Filed 01/05/23 Page 66 of 140 Page ID #:68




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Case 2:23-cv-00056 Document 1-1 Filed 01/05/23 Page 67 of 140 Page ID #:69




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Case 2:23-cv-00056 Document 1-1 Filed 01/05/23 Page 68 of 140 Page ID #:70

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Case 2:23-cv-00056 Document 1-1 Filed 01/05/23 Page 69 of 140 Page ID #:71




           EXHIBIT 5

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Case 2:23-cv-00056 Document 1-1 Filed 01/05/23 Page 70 of 140 Page ID #:72




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Case 2:23-cv-00056 Document 1-1 Filed 01/05/23 Page 71 of 140 Page ID #:73




           EXHIBIT 6

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· ENROLLED BIUL AEPORT
                                  Case 2:23-cv-00056 Document 1-1 Filed 01/05/23 Page 72 of 140 Page ID #:74
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                           OEPARTMEM'l' OF 'F'OOtj A]..'D AG:RICTJL~


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                and the implementation (late of Januai:y 1, 1991.
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                                                                                                                                                                                                    -'.6
               Existing law esta_bli~hes misdemeanor penalties for certain animal keep~.r_s.                                     --~fti~.rl:'•/.ftit;.~p~'er~i
               who do not pToperly care or provide fo"t the needs of their, animals. Ex,i:_s_1;~~-l(c~~t:;,~lVl9.-t~~~-8: ·,pt;-


I              v-arious poweri; and dµties of certain local off-leers relating to care an,r·:a1spq~_i,tiq"'~1:;.,;c.1; ;"" ·.- }-'f,¥
               neglected~ abu~~d.                 or              dis ab led animals.                  ·.        ..   . -_-;:.
               This bill would recast certain provisions for the care anJI' disposit_ion ;c>f: theb'e;Ian:imau: :and.',;;:t;;
               specifically provid~~ for hearings in whicll the owner or ,~e.pel' of -1:M:)~~-~~l;~f·_,:~)i:ifl~~~:~f~r¾
                                                                                                                                 ·:.:~:-If:/_:;,_i·:~_};i)t ,- ~::Jrt
               seizure or impoundment and th.e resulting costs of tb.ese .aeFvices;..   ·. :--~--~>-·::-~~; ··.'_',··,:<·rj_t·'-····_t\!~:
               A.            Impact

                             The bill imposes a state-ma."dated local program by re.R~iring
                             with notificatio1 requirements and hearing proced11-r~~1i,,'                    ·

      · B.                   Arguments Pro and Con
      J_ ....... __\




                       '     ~o                           '                                                                                 ..

                             1.    'l'he p:rovisiotis for notificottion and hearing suppo-i~s due proce$s,_·aiid>-J.:S-t·desl,r-,1tb'le.-~--- k-'{; ,
                                   to prevent u~fair sei~ure.



                             1.    The inter:pretation of "proper care and attention" can vary so
                                   unteasonable 9nd unfair seizure can easily occur,
                                                              ~                                                                               ~-- ... - ·...:- -: ..,   .:.: i   ~   ·-




               c.            Reco.mmenda tion                                                                                                             :   -:-                             ~·:· -~;-
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                             It is recommended! that AB 3S be signed by the Governo~.-                                                                                                                     ~




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        Vote;                         Ayes                                      Ayes    38
        'Assembly                     Noe&                         senate       Noea      0
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Case 2:23-cv-00056 Document 1-1 Filed 01/05/23 Page 73 of 140 Page ID #:75




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Case 2:23-cv-00056 Document 1-1 Filed 01/05/23 Page 74 of 140 Page ID #:76




          EXHIBIT 7

                                                                         74
           Case 2:23-cv-00056 Document 1-1 Filed 01/05/23 Page 75 of 140 Page ID #:77




Marla Tauscher

From:                            Lisa Eldridge <LEldridge@animalcare.lacounty.gov>
Sent:                            Tuesday, May 3, 2022 11:57 AM
To:                              Marla Tauscher
Cc:                              Harold Holmes; Raul Rodriguez; Jaime Palafox; Tony Apodaca; Esequiel Morales
Subject:                         FW: Follow up to Meeting last Tuesday


Hello Marla,

Harold has shared your communication with me and requested I respond. The DNA on SCCAT has been removed and the
OTC issued to reduce the number of cats can be disregarded.

Lisa f_

-------- Forwarded message - -.
From: Marla Tauscher <marla@attymat.cotn>
Date: Mon, May 2, 2022 at 12:01 PM
Subject: Follow up to Meeting last Tuesday
To: Harold Holmes <haroldwholmes@gmaiLcom>



Hi Harold,



I wanted to follow up with you about a few things from the meeting last Tuesday with So Cal Cat Adoption
Tails:



      1. You mentioned that the department would vacate the Order to Comply requiring my client to reduce the
         number of cats from 115 to 75. Can we get that in writing?
      2. When will the DNA be removed from my client? I cant remember the name of the officer who
         unilaterally decided to put her on the DNA list preemptively; but that's not the way it's done.
      3. My client would like the necropsy results from the cat that was found at her facility. I believe it was in
         February 2022.



 Thanks,



 Marla



 Mm·la Tauscher

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       Case 2:23-cv-00056 Document 1-1 Filed 01/05/23 Page 76 of 140 Page ID #:78



Attorney at Law

225 S. Lake Ave., Ste. 300

Pasadena, CA 91101




Phone: (626) 345-5777

Cell: (760j 534-3143

e-Fax: (760) 444-2742

www.attvmat.com



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                                DECLARATION OF JULIA MH.,DENBERGER
  2

  3     I, Julia Mildenberger, declare under oath:
  4            1.      l am the founder of Southern California Cat Adoption Tails (hereinafter

  5      "SCCAT'1, a non-profit animal rescue organization that I started in 2006.
   6           2.      I have first-hand, personal knowledge of the facts set forth in this declaration, and
   1    if called and sworn as a witness, I would testify competently to them.
   B           3.      The documents in Exhibit l to the Petition and Complaint, kennel pennits, are

   9      true and correct copies of the documents issued to me by LADAC in September 2021 and valid
  10      to September 2, 2022.
  11            4.     The documents in Exhibit 2 to the Petition and Complaint, inspection reports, are
  12      true and correct copies of inspection reports from 2016 to 2022, issued to me following each
  IJ      annual inspection of my animal facilities by LADAC personnel. Annual inspections by
  14      LADAC persow,.cl are a condition of issuance and renewal of my kennel permits.
  15            5.      The document in Exhibit 4 to the Petition and Complaint, the seareh warralilt is a

  16      true and correct copy of the search wanan.t that I photographed after it was handed to me by

  l7      someone who did not identify themself. as LADAC personnel were leaving my property late

  18      in the afternoon on October 26, 2022. Prior to that, I had no knowledge of the existence of a

  19      search warrant.

  20            6.      The document in Exhibit S to the Petition and Complaint. the press release, is a

  21      true and correct copy of the press release issued by LADAC on October 3 J, 2022. I obtained

  22      a copy of the press from a volunteer for SCCAT who received it as part of a mass emailing to
  23      the public by LADAC.

   24           I declare under penalty of perjury under the laws of the State of California that the

   23    foregoing is true and correct.

   26                   Executed this 3rd of November, 2022 at Littleroek. California.
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             DECLARATION OF JULIA MILDENBERGER ISO VEIUFlBD PETITION FOR WRIT OF MANDATE
                       AND COMPLAINT FOR. DAMAGES PlJRSUANT TO 42 U.S.C. § 1983



                                                                                                                              77
      Case 2:23-cv-00056 Document 1-1 Filed 01/05/23 Page 78 of 140 Page ID #:80




                                 DECLARA TlON OF MARLA TAUSCHER
2

3     I, Marla Tal~~cher. declare under oath:

4                    I am an at1on11:·y dulv lice,nsed and admitted to practice law in the State of

5      California.
6            2.      l am the allorney of record for Petitioner/Plai ntiff Juli.a lviildenberger in the
7


8                    I have first-hand, personal knm.vledg.e of the facts set forth in thfa declaration, a11d
9       if tailed and sworn ll$ a ,vitness, l would testify competently to them,

lO           4.      The document .in Exhibit 3 to the Petition and Complaint. email!-;. is a true and
11      correct copy of an October 18. 202.2 email cxclumge between myself and Lisa Eldridge

        (hereinafter "Eldridge'') of Los Ang~Jes County Department of Animal Control (hereinafter

13      «LAD AC') regarding the annual inspection of Pelitloner/Plan tiff s animal facility.

14           5.      The doc11ment in Exbibjt 6 to the Petition and Complaint~ an enrolled bill repmt
                                                                                                                     ,=
        from a 1990 California State Assembly Bill (AB35). j$ a true and correct copy of a certified
                                                                                                                            ~
15                                                                                                                   ~      ~
                                                                                                                     ;;;:

16      copy of a pmtion of the legislative history of Cal1/(w11ia Pc>1wl Code §.'"iY7. I that l obtained in

l7      January 2014 by requesting the legi$la!ive history from the Califl.wnia State Archives.
              6.      The document in Exhibit 7 to lhe Petition and Complaint, emails, is a true and

19      correct copy ofa i\1ay 3, 2022 email exchange betvvecn myself and Eldridge regarding LADAC

2()     vacation of a previously issued order 10 comply to Pctition.er/Plainiiff.

21

22            I declare under penalty of perjury under the laws of the State of California that the
23    foregoing is true and correct

2.J
                                                                          rl

23                    Executed this 3id of November at Plaadeyiyj~tifomia.           ,,, ,

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                                                              I\-1ltrla Tauscher


                          DECLARATION OF M.-\RI ,;\ TAUSCI !ER ISO WRIT or MANDATE ,\ND
                               COMPLAINl FOR D;\M;\GES PURSUANT Tl142 fLS.C. § 198}



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Case 2:23-cv-00056 Document 1-1 Filed 01/05/23 Page 79 of 140 Page ID #:81




                             Exhibit B

                                                                         79
                           Case 2:23-cv-00056 Document 1-1 Filed 01/05/23 Page 80 of 140 Page ID #:82 _...... -- ·-
           AlTORNEY"o°R PAF!TY WI.THO.UT ATTO,RNEY' tillame, Stai.,-a.,,111/mher. am! eddies,;/•                                     .
Electronic MA\'lil:~byAL!i~1;t'SfWi~St;>unty of Los Angeles on                           12/01/20~~2fYJa:f~rri R. Carter, Execut ve Officer/Clerk of0818t)dt,7'1R/ftltf1,1f.Ueputy Clerk
            225-S. Lake Ave., Ste. 300, Pasadena,_ CA 91101

                       TEl,.EPHONE NQ.,    (626) 3i5-5777                        FAA NO. (Oplioffal):       (760) 442742
                      E-MA'L AODR~S.S:     marla@altyrnat.com
                 AT'f◊RNEY FOR /Nam/;)!    JULIA ~ILDENBERGER
                                                  C

           SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
             STREET APDRf-SS:         111 N. Hill Street
             MAIUNG ADDREss, 111 N. Hill Street
            GITY AND ZIP CODE: Los Angeles 90012
                  BfW-!Cri N.AME:.:   Stanley Mosk Courthouse
            CASE. NAME: JULIA MILDEN~ERGER v. COUNTY OF LOS ANGELES

                    CIVIL CASE CO\/E~ SHEE.T                                           Complex- case Deslgnatioo                                CA.SE -NUMBER:

           [I] Unlimited                           D                Limited         D        CotJilti:tf             D      Joinder                 22STCP04242
                      {Amount                                   (Amount
                                                                                  Filed with first appearance by defend~nt JUDG_E:
                      demanded                                  demanded is
                                                       ·.                              (Cal. Rules o1Court, rule ,3.4.02)   PEPT:.
                      exceeds $25,000)                 ;        -$25,000 or less)
                                                                                                              ·.• - ,._ ,,
                                                                   Items 1-6 below must be completed (see mstru.ct10ns on page 2).
             1. Cheek one box below for the c_ase· type that best describes this case:
                  Aut_o Tort                            '                         Contract                                                  Provl_slonally Comple1e Civil Litlga_tlon
                  D       Auto .(22)                    _                        D        Breach of colitracttwafl'/lnly (DB)               {Cal, Rules of Court, rules 3.400-3.40~)
                  D       Uninsured motorist(~~)                                 t=J      Rule 3.740 ool(e'ctk.>ns (09)-                    D      Antitrust/Trade r-egulation (03)
                  0ther PilPO/WD (Personal !J1jury/Properly                      D         Other collectlom; (Q9)                           D      Construction defect (fD}        ·
                  Oamage/Wrorigful D.eath) T:<cirt                               D         Insurance coverage ({8}                          D      Masr:;-tor:t (40)
                  CJ      Asbesto·~ (_O~!        ,                               CJ     Other contract (37)                                 0      SeCllrities litigation (28)
                  CJ      Proo.uct hab1hty (24,) ,                                Real _Property                                            D      Eolliroiimental/Toxic tort (30)
                 -□-   Medii;.!.I "11:ilpra_ctk;e <45>                           D
                                                                            Eminent domain/Inverse                                          O      Insurance coverage daims arlsi,ng from the
                  D    OtherPIIPDIWD (23) j                                 condemnation (14)                                                      a_bovi! ~sted provisionally complex case
                                                                                                                                                   types (4t)
                  Non-PI/POIWD-(Other) Tort;                                     CJ
                                                                            Wrongful eviction (33)                                          Enforcement of Judgment
                  CJ   Business toi:t/Unfalr btjsiness practioo (07)             D
                                                                             other r~al property (26)                                       D      Enforce_ment of judgmenf (20}
                  D    CMI rights (08)             !                 U11lavtlful Detainer                                                   Mls(:eftaneous Civil Complaint
                  CJ       Defamation.(13)                                        D        Cotnmerciaf(31)
                                                                                                                                            LJ RIC0(27)
                  CJ       Fraud (16)                                             D        Reslden.tial {32)
                                                                                                                                            CJ    Other complaint (notspecif'ied 11bove) (42)
                  CJ       Intellectual property {1;9)                            D      brugs, (.38)                                       Mlscel.laneous Civil Petition
                  D    Profe$s\onal negngen¥e (25)                                Judicij!J Review
                                                                                                                                            D        Partnership and corporate governance (21)
                  D    Other non-Pl/PD/WO ~rt (35)                                D       Asset forfeiture (OS)
                  Empioyment                                i                     D      Petition· re: arbitration award (11).              D        Other petition (not specified above) (43)
                  D        Wrongful terminatlon (~)                               IT]      Writ of mand~e (02)
                  D        Oiher employment (Hi)                                 D         Other judicial review (39}
            2.  Tliis case O      is               00
                                                  is not. complex under: role 3.400 of the California Rules of Court. If the case is complex, mark the
                factors requiring exceptiqnal judicial management;
               a. D Large ~umber oi; separately represented parties              d. D          Large num_bei' of witnesses
               b. D Extensive motio~ practice raising diffieult or novel e.                                      D
                                                                                               Coordihation with related actions pendin.g in one or more
                   ·     issues that w)II_ b~ lime-consuming to resolve-                        courts .In other counf1es, states·, ot courittie:s, or in -a federal
               c.      D Substantial amoµnt of documentary evidence                            court
                                             i                                   f. D           Substantia.I postjUdgmenl judicial supervision
            3. Remedies sought _(check[all that apply): a. [RJ monetary b. [KJ nonmonetary; declaratory otinjunctive relief c.                                                                       D
                                                                                                                                                                                                  punitive
            4; Number .of causes of acti~>n (specify):· Writ of mandate; violation of CA Constitution~ 4 _, USC 1983: Injunctive Relief CCP 526
            5. This case D        is      I lfC I is hot :a class action suit.
            6. If there are any known related cases, file and·serve a notice of related c se. · may use form - --015.j
            Date: 11/4/2022                   !                                           lliri.i                     'A/                    L
            MARLA TAUSCHER                    :                                          ,,.                          ~
                                  (TYi"£ OR PRINT NM!!.:)                                         .:.J'.~~r';::iSl;'.G~NA::.T~UR~E_:OF~-~P~,6,R~TY'.::::;<m:::t>;::TT=-O=R::;N:::EY:::;:f:O:R:,_PA---R-,,TY~)----

              • Plaintiff must file this cove~ sheet with the first paper filed in the action or proceeding (except smaU claims cases or cases filed
                 under the Probc1te Code, ltamily Code, ot Welfare and Institutions Code). (Cal. Rules of Court. rule 3.220.) Failure to tile may result
                 in sanctions.                 t
              ■ File tt:iis cover sheet Jn ad~itlon to any ·cover sheet .requited by local court rule.
              ■ lfthis case Is complex un~er rule 3..400 et seq. of the California Rules of Court, you must serve a copy of this-cover sheet on aU
                 Qther parties to the actipn pr proceeding.
              ,. Unless this is a· collectio•ns, case under ru_l!l! 3. 740 or a complex case, this cover sheet WiH be used for statistical purposes-only.
                                                                '                                                                                                                                          80Page1 of"!i
             Form Adopled for-MandalDJY Use.                                         CIVIL CASE co·veR SHE'ET                                           ,()al,   Rules ct Ctluit, rul<ll! 2.,a0,_3:220. 3.4ilo-.3;41i3, 3.740-;
               ,ludidal Coun~il of Cillifo,:,iia                                                -       .    .   -             . .                                  c·ar. Slandards of Juilicia! Adl:r!lnislr;ld<Y1. std. 3,1 Q
             Case 2:23-cv-00056 Document 1-1 Filed 01/05/23 Page 81 of 140 Page ID #:83
                                  INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET                                                           CM-010
To Plaintiffs and Others Fi\lng First Papers. lf you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with! your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types am;! numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1 ,
check the more specific oneJ If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only withiyour initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties in Rule 3.740 Cqllections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money owed
in a sum stated to be certain\that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in which
property, services, or money\was acquired on credit. A collections case does not include an action seeking the following: (1) tort
damages, {2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identificatiqn of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
lime-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3. 740.
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff!believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate bpxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiffs designation, a counter-designat ion that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.                                      CASE TYPES AND EXAMPLES
  Auto Tort                                      Contract                                           Provlsionally Complex Civil Litigation  (Cal.
     Auto (22)-Personal Injury/Property            Breach of Contract/Warranty (06)               Rules of Court Rules 3.400-3.403)
          Damage/Wrongful Death                        Breach of Rental/Lease             .            AnlitrustrTrade Regulation (03)
       Uninsured Motorist (46) (if the                      Contract (not unla~u/ detamer               Construction Defect (10)
        case involves an uninsw'ed                              or wrongful ev1ctlon)                   Claims Involving Mass Tort (40)
         motorist claim subject to i                   Contrac_tfV:'arranty Breach-Se_ller              Securities litigation (28)
        arbitration check this itein                        Plaintiff (not fraud or negligence)         Environmentalffox ic Tort (30)
        instead ofAuto)              1                 Negligent Breach of Contract/                    Insurance Coverage Claims
 Other Pl/PO/WO (Personal Injury/                           Warranty                                         (al1sing from provisionally complex
 Property Damage/Wrongful death)                       Other Breach of Contract/Warranty
 Tort                                                                                                        case type listed above) {41)
                                     '             Collections (e.g., money owed, open
                                                                                                  Enforcement of Judgment
     Asbestos (04)                                     book accounts) (09)            _ .            Enforcement of Judgment (20)
         Asbestos Property Damage                      Collection ~ase-Seller Pla1nt1ff                  Abstract of Judgment (Out of
         Asbestos Personal Injury/                     Other Promissory Note/Collections                      County)
               Wrongful Death        '                      Case                     . ,            Confession of Judgment (non-
                                  4
      Product liability (not asbe tas or           Insurance Coverage (not prov1s1011al/y                 domestic relations)
          toxic/environmental) (24)                    complex) {18) .                               Sister State Judgment
      Medical Malpractice (45) :                       Auto Subrogation                             Administrative Agency Award
           Medical Malpractice- !                      Other Coverage                                    (not unpaid taxes)
                 Physicians & surg~ons             Other Contract (37)                               Petition/Certification of Entry of
      Other Professional Health bare                   Contractual Frau~                                  Judgment on Unpaid Taxes
              Malpractice            ·                 Other Contract Dispute                        Other Enforcement of Judgment
      Other PI/PD/WD (23)                       Real P~operty       .                                      Case
           Premises Liability (e.g.i slip          Eminent Doma1n/lnverse                         Miscellaneous Civil Complaint
                 and fall)           •                 Condem~a!1on (14)                             RICO (27)
           Intentional Bodily lnjury/PDNVD         Wrongful Eviction (33)          . .               Other Complaint (not specified
                  (e.g., assault, vandalism)       Other ~eal Proper!~ (e.g., quiet title) (26)           above) (42)
           Intentional Infliction of !                 Wnt of Possession of Real Property                 Declaratory Relief Only
                Emotional Distressi                    Mortga~e Foreclosure                               Injunctive Relief Only (non-
           Negligent Infliction of :                   Quiet Title                      .                      harassment)
                 Emotional Distress                   Other Real Property (not eminent                    Mechanics lien
           Other Pl/PDIWD            ·                domain, landlord/tenant, or                         Other Commercial Complaint
 Non-Pt/PO/WO (Other) Tort                             foreclosure)                                            Case (non-torVnon-complex)
     Business Tort/Unfair Business              Unlawful Det_alner                                        other Civil Complaint
         Practice (07)               ;             Cori:mercral (31)                                          (non-to!Vnon-complex)
     CMI Rights (e.g., discrimination,             Residential (_32)         .       .            Miscellaneous Civil Petition
            false arrest) (not civil ·             Drugs (38) (1f the case mvolve~ 11/ega/           Partnership and Corporate
            harassment) (08)                       drtigs, check this 1te_m; olhe~tse . .                Governance (21)
     Defamation (e.g., slander, libel)             report as Commercial or Res1dent1al)              Other Petition (not specified
             (13)                               Judlclal Review
                                                                                                         above} (43)
     Fraud (16)                                    Ass.~t Forfeiture_ (05)                               Civil Harassment
     Intellectual Property (19)                    Pet1t1on Re: Arb1trat1on Award (11)                   Workplace Violence
     Professional Negligence (2p)                  Wnt of_Manda_t~ (02}_                                 Elder/Dependent Adult
         Legal Malpractice                              Writ-Admmtstrattve M_a~damus                          Abuse
         Other Professional Malriractice                Wrtt-Mandamus on Ltmtled Court                   Election Contest
               (not medical or /egaQ                       Case Matte~                                   Petition for Name Change
     Other Non-PI/PD/WD Tort {35)                       Wrtt-Other Limited Court Case                    Petition for Relief From Late
 Employment                           '                    Review                                             Claim
     Wrongful Termination (36) i                   Other Judicial Review (39)                            Other Civil Petition
     Other Employment (15)                              Review of Health Officer Order
                                                        Notice of Appeal-Labor
                                                             Commissioner Appeals
CM-010 (Rev, September 1, 2021]
                                                        CIVIL CASE COVER SHEET                                                           81Page 2 of   2
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                             Exhibit C
                                                                         82
                     Case 2:23-cv-00056 Document 1-1 Filed 01/05/23 Page 83 of 140 Page ID #:85
Electronically FILED by Superior Court of Calif6mia, County of Los Angeles on   12/01/20~;g:,:.~~ft1rri R. Carter, Executlve Officer/Clerk of Court, by R. Perez.Deputy Clerk
           SHORT TITLE                                                                                                           CASE NUMBER
          JULIA MILDENBERGER v. COUNTY OF LOS ANGELES


                              CIVIL C~SE COVER SHEET ADDENDUM AND STATEMENT OF LOCATION
                                        (CE,TIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)

                                              ''
                 This form is require~ pursuant to local Rule 2.3 in all new civil case filings in the Los Angeles Superior Court
                                     I
                                              !
         Step 1: After completi1g the Civil Case Cover Sheet (Judicial Council form CM-010), find the exact case type in
          Column A that corresptjnds to the case type indicated in the Civil Case Cover Sheet
         Step 2: In Column B, c~eck the box for the type of action that best describes the nature of the case,
                                              I

         Step 3: In Column C, ci~cle the number which explains the reason for the court filing location you have chosen.
                                              I


                                              !
                                              '
                                           Applicable Reasons for Choosing Courthouse Location (Column C)
           1.    Class Act!o11s must be flied i1 the Stanley Mosk Courthouse, Central District.           7.    Location where petitioner resides.

           2.   Permissive filing in Central ~strict.                                                     8.    Location wherein defendant/responde nt functions wholly.

           3.    Location where cause of action arose.                                                    9.    location where one or more of the parties reside.

           4.   location where bodily injury( death or damage occurred.                                   10.   Location of Labor Commis~ioner Office.

           5.    location where performanct required, or defendant resides,                               11.   Mandatory fili11g location (Hub Cases - unlawful detainer, llmited
                                                                                                                non-collection, limited collection).
           6.    location of property or perrhanently garaged vehicle.
                                              i




                                                              □ 2201 Motor Vehicle - Personal Injury/Property Damage/Wrongf ul                                        1,4
                                                              Death

                                Uninsured '.Motorist          □ 4601 Uninsured Motorist - Personal Injury/Property                                                    1, 4
                                          (46!)               Damage/Wrongf ul Death
                                              t
                                  other Pfjrsonal             D 2301 Premise Liability (e.g., dangerous conditions of property,                                       1, 4
                                 Injury/ P~operty             slip/trip and fall, dog attack, etc.)
                                Damage/ Wrongful
                                    Death !(23)               □ 2302 Intentional Bodily Injury/Property Damage/Wrongf ul Death                                        1, 4
                                                              (e.g., assault, battery, vandalism, etc.)

                                                              □ 2303 Intentional Infliction of Emotional Distress                                                     1,4

                                                              □ 2304 other Personal Injury/Property Damage/Wrongf ul Death                                            1, 4
                                                              D 2305 Elder/Dependent Adult Abuse/Claims Against Skilled Nursing                                       1,4
                                                              Facility

                                                              D   2306 Intentional Conduct - Sexual Abuse Case (ln any form)                                          1,4


         LASC CIV 109 Rev. 10/22                            CIVIL CASE COVER SHEET ADDENDUM                                                              LASC Local Rule 2.3
         For Mandatory Use
                                                               AND STATEMENT OF LOCATION
                                                                                                                                                                      83
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 SHORTTITLE                        l                                                                   CASE NUMBER
 JULIA MILDENBERGER v. COUNTY OF LOS ANGELES




                                                    D   2307 Construction Accidents                                               1,4
                                                    □ 2308 Landlord - Tenant Habitability (e.g., bed bugs, mold, etc.)            1,4
                      Product U~bility (24)                                                                                       1,4
                                   i                D   2401 Product Liability (not asbestos or toxic/ environmental)
                                   :
                                   r

                                                    □ 2402 Product Liability - Song-Beverly Consumer Warranty Act (CA            1, 3, S
                                                    Civil Code §§1790-1795.8) )Lemon Law)

                      Medical M~lpractice           D   4501 Medical Malpractice - Physicians & Surgeons                          1, 4
                                (4~)
                                                    □ 4502 Other Professional Health Care Malpractice                             1,4
               .c      Business \ort (07)           D 0701 Other Commercial/Bus iness Tort (not fraud or breach of               1, 2, 3
               1oQ)                                 contract)
  iv     ~t               Civil Rig1ts (08)         □   0801 Civil Rights/Discrimin ation                                        1, 2, 3
   co !! ~
   ~e~~--D_e_f_am _a~t~_n_(1_3_l_ _□_1_3_0l_D_ef_a_m_a_ti_o_n_(s_la_n_d_e_r/_lib_e_l_)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _1_,_2_,_3_~
  iii~~__                   F_r_au_d~\_(1_6_}_ _   ~□-1_6_0_1_F_ra_u_d_(n_o_co_n_t_ra_c_t)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _~_1_,_2_,_3_ ~
  ~ .:!, ~                 Profes~ional             D   2501 legal Malpractice                                                   1, 2, 3
          .5   l't        Negfigen~e (25)
               E                   !                □ 2502 Other Professional Malpractice (not medical or lega!)                 1, 2, 3
               n,
               o            Other[(35)              □ 3501 Other Non-Personal Injury/Property Damage Tort                        1, 2, 3
  ...
   C
                          Wrongful                  D 3601 Wrongful Termination                                                  1, 2, 3
   GI                  Termination (36)

   i
  "ii
                      Other EmRloyment
                                {19)
                                   i
                                                    D 1501 other Employment Complaint Case                                       1, 2, 3
   E                               ''               D   1502 Labor Commissioner Appeals                                            10
  I.I.I

                      Breach of qontract /          D 0601 Breach of Rental/Lease Contract (not unlawful detainer or              2,5
                         Warran(y (06)              wrongful eviction)
                        (not insu:rance)
                                                    □ 0602 Contract/Warran ty Breach - Seller Plaintiff (no                       2,5
                                   l                fraud/negligence }
                                                    □ 0603 Negligent Breach of Contract/Warran ty (no fraud)                     1, 2, 5
                                                    □ 0604 Other Breach of Contract/Warran ty (no fraud/ negligence)             1, 2, S
  ti
  ...
   ~
   C
                                                    D   0605 Breach of Rental/Lease Contract (COVID-19 Rental Debt)               2, S
   0                      Collectiops {09)          □ 0901 Collections Case - Seller Plaintiff                                  5,6, 11
  u
                                                    □ 0902 Other Promissory Note/Collections Case                                s, 11
                                                    D 0903 Collections Case - Purchased Debt (charged off consumer debt         5, 6, 11
                                                    purchased on or after January 1, 2014)

                                                    □ 0904 Collections Case - COVID-19 Rental Debt                                5, 11
                      Insurance ¢overage            D   1801 Insurance Coverage {not complex)                                   1,2,S,8
                                (18:



lASC CIV 109 Rev. 10/22                            CIVIL CASE COVER SHEET ADDENDUM                                       LASC Local Rule 2.3
For Mandatory Use
                                                      AND STATEMENT OF LOCATION
                                                                                                                                  84
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                                                                                        CASE NUMBER
~0°L~~T~~~OENBERGER          v.l COUNTY OF LOS ANGELES




                   Other Con~ract (37)   D   3701 Contractual Fraud                                           1, 2, 3, 5
                               l         □ 3702 Tortious Interference                                         1, 2, 3, S
                                         □ 3703 Other Contract Dispute (not breach/insurance/fraud/          1, 2, 3, 8, 9
                                         negligence)
                   Eminent Qomain/       D 1401 Eminent Domain/Condemnation                                      2,6
                            I
                        Inverse                                                Number of Parcels _ _ __
                   Condemn~tion (14)
                   Wrongful \Eviction    □ 3301 Wrongful Eviction Case                                           2,6
                          (3~)
                          OtheriReal     □   2601 Mortgage Foreclosure                                           2, 6
                      Prope~y (26)       D 2602 Quiet Title                                                      2,6
                                i

                                         D 2603 Other Real Property (not eminent domain,                         2, 6
                                         landlord/tenant, foreclosure)
                   Unlawful · etainer    D 3101 Unlawful Detainer- Commercial (not drugs or wrongful            6, 11
 ~                 - Comme~cial (31)     eviction)
 Cl.I
 C
                   Unlawful ~etainer     D 3201 Unlawful Detainer- Residential (not drugs or wrongful           6, 11
'I§
                   - Residen~ial (32)    eviction)
 ~
                   Unlawful li)etainer   D 3401 Unlawful Detainer - Post Foreclosure                           2,6,11
iRI
                   - Post For~closure
c
::,
                          (3~)
                   Unlawful ~etainer     D 3801 Unlawful Detainer - Drugs                                      2, 6, 11
                      - Drugs (38)
                    Asset Forfeiture     D 0501 Asset Forfeiture Case                                           2, 3, 6
                             (OS-
                      Petitio,i re       □   1101 Petition to Compel/Confirm/Vacate Arbitration                  2,5
                    Arbitratiqn (11)
                    Writ of M~ndate      D 0201 Writ - Administrative Mandamus                                   2,8
                             (02)        □   0202 Writ - Mandamus on Limited Court Case Matter                     2

                                    I    D 0203 Writ - Other Limited Court Case Review                             2
                      Other Jt.tdicial   [ii 3901 other Writ/Judicial Review                                     2,8
                       Review!(39)
                                    l    D 3902 Administrative Hearing                                           2, 8

                                         D 3903 Parking Appeal                                                   2,8

                     Antitrust.(Trade    D 0301 Antitrust/Trade Regulation                                      1, 2, 8
 =rg> )(Ill
        0
         C
                               I
                     Re ulatidn (03)
  C -Q, •-
  0     ...
                      Asbesto$ (04)      D 0401 Asbestos Property Damage                                         1, 11
 'iii   E Cl,                  i
 ·s;    0     +>
 ~
  e u:::;                                D 0402 Asbestos Personal Injury/Wrongful Death                          1, 11


LASC CIV 109 Rev. 10/22                  CIVIL CASE COVER SHEET ADDENDUM                                LASC Local Rule 2.3
For Mandatory Use
                                            AND STATEMENT OF LOCATION
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 SHORT TITLE                                                                              CASE NUMBER
 JULIA MILDENBERGER v.iCOUNTY OF LOS ANGELES




                       Constr~ction         □ 1001 Construction Defect                                             1, 2, 3
                        Defect (10)
                     Claims l~volving       D 4001 Claims Involving Mass Tort                                      1, 2, 8
                      Mass TQrt (40)
                    Securities ~itigation   □   2801 Securities Litigation Case                                    1, 2, 8
                             (28)
                         Toxicrort          □ 3001 Toxic Tort/Environmental                                       1, 2, 3, 8
                    Environm~ntal (30)
                    Insurance Foverage      D 4101 Insurance Coverage/Subrogation (complex case only)             1, 2, 5, 8
                        Claims! from
                     Complex ¢ase (41)
                      Enforcement of        D 2001 Sister State Judgment                                           2,5, 11
                       Judgmeht (20)        D 2002 Abstract of Judgment
                               I                                                                                     2,6
                               !            □   2003 Confession of Judgment (non-domestic relations)                2, 9
                               !            □   2004 Administrative Agency Award (not unpaid taxes)                 2,8
                                            D 2005 Petition/Certificate for Entry of Judgment Unpaid Tax            2,8
                                            D 2006 Other Enforcement of Judgment Case                              2, 8, 9
                          RICO :(27)        □ 2701 Racketeering    (RICO) Case                                     1, 2,8
  !S
  0
       f
       ·-
                    Other Corjnplaints      □   4201 Declaratory Relief Only                                       1, 2, 8
  cu  .!!!           (not spJcified
  s:: a.                     I              □   4202 Injunctive Relief Only (not domestic/harassme nt)              2., 8
 .!!! E                above\ (42)
 -     0                                    □ 4203 Other Commercial Complaint Case (non-
  el u
  111-
                                                                                                                   1, 2, 8
 ~     :1::                                 tort/noncomplex)
       u
                                            D 4304 Other Civil Complaint (non-tort/non-comp lex)                   1, 2, 8
                       Partnership          □ 2101 Partnership and Corporation Governance Case                      2, 8
                       Corpor!ation
                     Governa~ce (21)
                     Other Petitions        □   4301 Civil Harassment with Damages                                 2, 3, 9
                      (not spJcified        □   4302 Workplace Harassment with Damages
                             l                                                                                     2, 3, 9
                       above] (43)
                               I            □   4303 Elder/Dependent Adult Abuse Case with Damages                 2, 3, 9
                                            □ 4304 Election Contest                                                   2
                                            D 4305 Petition for Change of Name/Change of Gender                     2, 7
                                            □ 4306 Petition for Relief from Late Claim Law                         2, 3, 8
                                            D 4307 Other Civil Petition                                             2, 9




LASC CIV 109 Rev. 10/22                     CIVIL CASE COVER SHEET ADDENDUM                                LASC Local Rule 2.3
For Mandatory Use
                                               AND STATEMENT OF LOCATION
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  SHORT TITLE                 )                                                  CASE NUMBER
  JULIA MILDENBERGER v.)COUNTY OF LOS ANGELES


Step 4: Statement of R•ason and Address: Check the appropriate boxes for the numbers shown under Column
C for the type of actio~' that you have selected. Enter the address, which is the basis for the filing location
including zip code. (No ~ddress required for class action cases.)
                              !
                              '
  REASON:                     !                                     ADDRESS:
  D 1.@ 2. D 3. □ 4.      □   $. □ 6. D 7. [l] 8. □ 9. □ 10. D 11                35762 80th Street East
                              '
                              ;


  CITY:
  Llttlerock
                              !
                              i
                              >

                              i
                                      I STATE:
                                        CA
                                                       IZIP CODE:
                                                         93534
                              l
Step 5: Certification of. Assignment: I certify that this case is properly filed in the _c_e_ntl'._a_l_ _ _ _ __
District of the Superior 4ourt of California, County of Los Angeles [C';>d of Civ. Proc., 392 et seq., and LASC Local
Rule 2.3(a)(l)(E)]            !                                     ·
Dated: 1110412022
                                  l
                                  i
                                  l
                                                                          (SIGNATURE OF ATTORNEY/FILING PARTY

PLEASE HAVE THE FOLLOilNG ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO PROPERLY COMMENCE
YOUR NEW COURT CASE: 1,
                                  i
      1. Original Compla(;nt or Petition.
      2. If filing a Compl~int, a completed Summons form for issuance by the Clerk.
      3. Civil Case Cover Sheet Judicial Council form CM~010.
      4. Civil case Cover ~heet Addendum and Statement of Location form LASC CIV 109 (10/22}.
      5. Payment in full ~f the filing fee, unless there is a court order for waiver, partial or schedule payments.
      6. A signed order appointing a Guardian ad Litem, Judicial Council form CIV-010, if the plaintiff or
         petitioner is a minor under 18 years of age will be required by Court to issue a Summons.
                           !
      7. Additional copie$ of documents to be conformed by the Clerk. Copies of the cover sheet and this
         addendum must[be served along with the Summons and Complaint, or other initiating pleading in the
                           ~
         case.




LASC CIV 109 Rev. 10/22                   CIVIL CASE COVER SHEET ADDENDUM                           LASC local Rule 2.3
For Mandatory Use
                                             AND STATEMENT OF LOCATION
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                             Exhibit D
                                                                         88
                        Case 2:23-cv-00056 Document 1-1 Filed 01/05/23 Page 89 of 140 Page ID #:91
Electronically FILED by Superior Court of California, County of Los Angeles on 12/01/2022 02:58 PM Sherri R. Carter, Executive Officer/Clerk of Court, by R. Perez,Deputy Clerk
                                                                                       22STCP04242

                                                                                                                                                                           SUM-100
                                                                   SUMMONS                                                                           FOR COURT USE ONLY
                                                                                                                                                 (SOLO PARA USO DE LA CORTE)
                                                          (CITAC/ON JUDICIAL)

          NOTICE TO DEFENDANT:
          (AV/SO AL DEMANDADO):
          COUNTY OF LOS ANGELES; and DOES 1 through 50, inclusive


          YOU ARE BEING SUED BY PLAINTIFF:
          (LO ESTA DEMANDANDO EL DEMANDANTE):
          JULIA MILDENBERGER, in her individual capacity and in her capacity as CEO of SOUTHERN
          CALIFORNIA CAT ADOPTION TAILS; a California nonprofit corporation
           NOTICE! You have been sued. The court may decide against you without your being heard unless you responc within 30 days. Read the information
           below.
              You have 30 CALENDAR DAYS after !his summons and legal papers are served on you to file a written response al !his court and have a copy
           served on the plaintiff. A letter or phone call will not protect you. Your wrillen response must be In proper legal form if you want the court to hear your
           case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
           Online Self-Help Center (www.courtinfo.ca.gov/selfhe/p), your county law library, or the courthouse nearest you. lf you cannot pay the filing fee, ask the
           court clerk for a fee waiver form. If you do not file your response on lime, you may lose the case by default, and yourwages, money, and property may
           be taken without further warning from the court.
              There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
           referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
           these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifomla.org), the California Courts Online Self-Help Center
           (www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
           costs on any settlement or arbitration award of $10,000 or more In a clvil case. The court's lien must be paid before the court will dismiss the case.
           1AVISO/ Lo han demandado. Si no responde dentro de 30 dfas, la corte puede decidir en su contra sin escuchar su versi6n. Lea la informaci6n a
           continuacl6n.
              Tiene 30 DIAS DE CALENDAR/0 despues de que le entreguen esta citaci6n y papeles /egales para presentar una respuesta por escrfto en esta
           carte y hacer que se entregue una copia al demandante. Una carta o una Hamada telef6nica no lo protegen. Su respuesta por escrito tiene que estar
           en formato legal correcto si desea que procesen su caso en la corle. Es poslble que haya un formulario que usted pueda usar para su respuesta.
           Puede encontrar estos formularios de la corte y mas informaci6n en el Centro de Ayuda de las Cortes de California (www.sucorte.ca.gov), en la
           biblioteca de /eyes de su condado o en la corte que le quede mas cerca. Si no puede pagar la cuota de presentaci6n, pida al secretario de la corte que
           le de un formulario de exenci6n de pago de cuotas, Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y la carte le podra
           quitar su sue/do, dinero y bienes sin mas advertencia.
              Hay otros requisitos legales. Es recomendable que flame a un abogado inmediatamente. Si no conoce a un abogado, puede llamar a un servicio de
           remisi6n a abogados. Si no puede pagar a un abogado, es posible que cump/a con /os requisitos para obtener servic/os lega/es gratuitos de un
           programa de servicios legales sin fines de fucro. Puede encontrar estos grupos sin fines de Jucro en el sitlo web de Cafifomia Legal Services.
           (www.lawhelpcafifomla.org), en el Centro de Ayuda de /as Cortes de California, (www.sucorte.ca.gov) o poniendose en contacto con fa corte o el
           colegio de abogados locales. AV/SO: Por fey, fa corte tiene derecho a reclamar las cuotas y los costos exentos por lmponer un gravamen sobre
           cualquier recuperaci6n de $10,000 6 mas de valor recibida med/ante un acuerdo o una concesi6n de arbitraje en un caso de derecho civil. Tiene que
           pagar el gravamen de la co,te antes de que la corte pueda desechar el caso.
                                                                                                                   CASE NUMBER:
          The name and address of the court is: Stanley Mosk Courthouse                                            (Numero de/ Caso):
          (El nombre y direcci6n de la carte es):
                                                                                                                                    22STCP04242
          111 N. Hill Street, Los Angeles, CA 90012
                                                                     Sherri R. Carter Executive Officer I Clerk of Court
          The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is:
          (El nombre, la direcci6n y el numera de telefono def abogado def demandante, o de/ demandante que no tiene abogado, es):
          Marla Tauscher, 225 S. Lake Ave., Ste. 300, Pasadena, CA 91101 Telephone: (626) 345-5777
          DATE:                                                               Clerk, by                                                                                    , Deputy
          (Fecha) 210112022                                                   (Secretario)                                                  R. Perez                       (Adjunto)
          (For proof of seNice of this summons, use Proof of Service of Summons (form POS-010).)
          (Para prueba de entrega de esta citation use el formulario Proof of Service of Summons, (POS-010)).
            [SEALJ                                  NOTICE TO THE PERSON SERVED: You are served
                                                    1.   D  as an individual defendant.
                                                    2.   D       as the person sued under the fictitious name of (specify):

                                                    3.   [KJ on behalf of (specify): County of Los Angeles
                                                         under:   D     CCP 416.10 (corporation)                                 D       CCP 416.60 (minor)
                                                                  D     CCP 416.20 (defunct corporation)                         D       CCP 416.70 (conservatee)
                                                                  D     CCP 416.40 (association or partnership)                  0       CCP 416.90 (authorized person)
                                                                  [KJ other (specify): CCP 416.50
                                                    4.   D       by personal delivery on (date):
                                                                                                                                                                               Page 1 of 1
           Form Adopted for Mandato,y Use                                                                                                            Code of Civil Procedure§§ 412,20, 465
             Judicial Council of California                                             SUMMONS
                                                                                                                                                                             89
            SUM-100 [Rev. July 1, 2009]
                                                                                                                                                                        """'v.couits.ca.gov
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                             Exhibit E
                                                                         90
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Electronically Fl   D by Super1or court of California, County of Los Angeles on 12/0112022 02:58 PM Sherri R. Carter, ExecutiVe Officer/Clel1< Of Court, by R. Perez, DeptJ1¥ Clerk

                    MARLA TAUSCHER. SBN 259630
                    225 S. Lake Ave., Sk. 300
             1      Pasadena, California 9l i01
                    Phone:(626)345-5777
             J      Fax: (760) 444-2742
                    e-mail; nrntl;i.'ii.2aUvmat.eom
                                     .____ . .,..
                                              ,   .
             4

             5      Attorney t1.w Pc.titioncr/P1ainliff
                    JULIA M.ll.. DENBERGER
             (i

             7

             8                                    SlJPERlOR COliRT OF' THE STATE OF CALIFORNIA
                                                                         COUNTY OF LOS ANGELES
             9
                                                                   STANLEY MOSK COURTHOUSE
            10

           1l
                    JULlA l:VBLDENBERGl::R. in her individual                                      ) CascNo.:               22STCP04242
           12       capacity and in her capacity as CEO of                                         }
                                                                                                   )
                    SOUTHERN CALIFORNIA CAT                                                             REQUEST FOR JUDICIAL NOTICE rN
           1.3                                                                                     )
                    ADOPTION TAILS: a California nonprofit                                         )    SUPPORT Of VERfFIED PETITION FOR
           14       coq'loration,                                                                  )    WRIT OF MANDATE AND COMPLAINT
                                                                                                   )    FOR DAMAGES PURSUANT TO 42 U.S.C.
           15                        Petitioner/Plain1iff                                          ) §1983
                                                                                                   )
           16                                                                                      )
                                              vs.
                                                                                                   )
           17
                                                                                                   }
                    COUNTY OF LOS ANGELES; and DOES 1 ) [Verified Petition .for Writ of Mandate and
                    through 50, incliisive,                                                        )    Complaint for Damages pursuant to 42 lJ.S.C.
           19                                                                                      .i   ~ 1983: Declaration of Marla Tauscher~
                                    Responclents/Defondanls                                        ) Dedarati(m of Julia Mildenberger~ and Ex
           20                                                                                      ) Parte Application fc)l' Temporary Restraining
                                                                                                   )
                                                                                                     Order filed concurrently]
           21                                                                                      )
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                                                                                                   :)Dept.:
           24                                                                                      ) Judge:
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           25                                                                                        Hearing Date:
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                                                                                                   )
                                                                                                        Hearing Time:
           26                                                                                      )
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                                  REQUEST FOR. JUDICIAL NOTICE ISO VERIFIED PETITION FOR WRIT OF MANDATE
                                         AND COMPLAlNT FOR DAMAGES PURSUANT TO 42 tl.S.C. §1983


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       TO THE COURT, ALL PAR'l'lES AND THEIR ATTORNEY S OF RECORD:
2               PLEASE TAKE NOTICE TlfAT pursuant to California Rules of Court, Rules 3.11 I 3(1)
3      and 3. l306(c), and California Evidenct; Code Sectiolls 450, et seq_. Petitioner/Plaintiff Julia
4
       I'viildenberger t·'Pctitioncr/Plaintiff'), by and through her attorney of record. requests that the

       Court take judici}1l notice of the fdlO\ving documents in support of her Kr Parte Non-Statutory
 6
       Motion fr)r Relu(n of Prope;rty:
 7
                   I. q1lifi.)rnia Penal Code §597 .1:
 8
                   2. Cnlifornia Business and Pn1fessions Code ~4827.
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11     Dated:          November 3. 2022

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                  REQUES'T FOR JUDICIAL NOTICE ISO VERIFIED PETITION FOR WRIT OF MANDATE
                          /\ND COi'v1PLAINT FOR DAMAGES PURSUANT TO 42 U.S.C. § 1983

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        State of California

         PENAL CODE

         Section 597.1



         597.1. (a) (1) Every owner, driver, or keeper of any animal who permits the animal
         to be in any building, enclosure, lane, street, square, or lot of any city, county, city
         and county, or judicial district without proper care and attention is guilty of a
         misdemeanor. Any peace officer, humane society officer, or animal control officer
         shall take possession of the stray or abandoned animal and shall provide care and
         treatment for the animal until the animal is deemed to be in suitable condition to be
         returned to the owner. When the officer has reasonable grounds to believe that very
         prompt action is required to protect the health or safety of the animal or the health or
         safety of others, the officer shall immediately seize the animal and comply with
         subdivision (f). In all other cases, the officer shall comply with the provisions of
         subdivision (g). The full cost of caring for and treating any animal properly seized
         under this subdivision or pursuant to a search warrant shall constitute a lien on the
         animal and the animal shall not be returned to its owner until the charges are paid, if
         the seizure is upheld pursuant to this section.
            (2) Notwithstanding any other law, if an animal control officer or humane officer,
         when necessary to protect the health and safety of a wild, stray, or abandoned animal
         or the health and safety of others, seeks to administer a tranquilizer that contains a
         controlled substance, as defined in Division 10 ( commencing with Section 11000) of
         the Health and Safety Code, to gain control of that animal, the officer may possess
         and administer that tranquilizer with direct or indirect supervision as determined by
          a licensed veterinarian, provided that the officer has met each of the following
         requirements:
            (A) Has received training in the administration of tranquilizers from a licensed
          veterinarian. The training shall be approved by the California Veterinary Medical
          Board.
            (B) Has successfully completed the firearms component of a course relating to the
          exercise of police powers, as set forth in Section 832.
             (C) Is authorized by the officer's agency or organization to possess and administer
          the tranquilizer in accordance with a policy established by the agency or organization
          and approved by the veterinarian who obtained the controlled substance.
             (D) Has successfully completed the euthanasia training set forth in Section 2039
          of Title 16 of the California Code ofRegulations.
             (E) Has completed a state and federal fingerprinting background check and does
          not have any drug- or alcohol-related convictions.
             (b) Every sick, disabled, infirm, or crippled animal, except a dog or cat, that is
          abandoned in any city, county, city and county, or judicial district may be humanely




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        euthanized by the officer if, after a reasonable search, no owner of the animal can be
        found. It shall be the duty of all peace officers, humane society officers, and animal
        control officers to cause the animal to be humanely euthanized or rehabilitated and
        placed in a suitable home on information that the animal is stray or abandoned. The
        officer may likewise take charge of any animal, including a dog or cat, that by reason
        of lameness, sickness, feebleness, or neglect, is unfit for the labor it is performing,
        or that in any other manner is being cruelly treated, and provide care and treatment
        for the animal until it is deemed to be in a suitable condition to be returned to the
         owner. When the officer has reasonable grounds to believe that very prompt action
        is required to protect the health or safety of an animal or the health or safety of others,
        the officer shall immediately seize the animal and comply with subdivision (f). In all
        other cases, the officer shall comply with subdivision (g). The full cost of caring for
         and treating any animal properly seized under this subdivision or pursuant to a search
         warrant shall constitute a lien on the animal and the animal shall not be returned to
         its owner until the charges are paid.
           (c) (I) Any peace officer, humane society officer, or animal control officer shall
         convey all injured cats and dogs found without their owners in a public place directly
         to a veterinarian known by the officer to be a veterinarian who ordinarily treats dogs
         and cats for a determination of whether the animal shall be immediately and humanely
         euthanized or shall be hospitalized under proper care and given emergency treatment.
           (2) If the owner does not redeem the animal within the locally prescribed waiting
         period, the veterinarian may personally perform euthanasia on the animal. If the animal
         is treated and recovers from its injuries, the veterinarian may keep the animal for
         purposes of adoption, provided the responsible animal control agency has first been
         contacted and has refused to take possession of the animal.
           (3) Whenever any animal is transferred to a veterinarian in a clinic, such as an
         emergency clinic that is not in continuous operation, the veterinarian may, in tum,
         transfer the animal to an appropriate facility.
            (4) If the veterinarian determines that the animal shall be hospitalized under proper
         care and given emergency treatment, the costs of any services that are provided
         pending the owner's inquiry to the responsible agency, department, or society shall
         be paid from the dog license fees, fines, and fees for impounding dogs in the city,
         county, or city and county in which the animal was licensed or, if the animal is
         unlicensed, shall be paid by the jurisdiction in which the animal was found, subject
         to the provision that this cost be repaid by the animal's owner. The full cost of caring
         for and treating any animal seized under this subdivision shall constitute a lien on the
         animal and the animal shall not be returned to the owner until the charges are paid.
         No veterinarian shall be criminally or civilly liable for any decision that the veterinarian
         makes or for services that the veterinarian provides pursuant to this subdivision.
           (d) An animal control agency that takes possession of an animal pursuant to
         subdivision (c) shall keep records of the whereabouts of the animal from the time of
         possession to the end of the animal's impoundment, and those records shall be available
         for inspection by the public upon request for three years after the date the animal's
         impoundment ended.




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            (e) Notwithstanding any other provision of this section, any peace officer, humane
         society officer, or any animal control officer may, with the approval of the officer's
         immediate superior, humanely euthanize any stray or abandoned animal in the field
         in any case where the animal is too severely injured to move or where a veterinarian
         is not available and it would be more humane to euthanize the animal.
            (f) Whenever an officer authorized under this section seizes or impounds an animal
         based on a reasonable belief that prompt action is required to protect the health or
         safety of the animal or the health or safety of others, the officer shall, before the
         commencement of any criminal proceedings authorized by this section, provide the
         owner or keeper of the animal, if known or ascertainable after reasonable investigation,
         with the opportunity for a postseizure hearing to determine the validity of the seizure
         or impoundrnent, or both.
            (I) The agency shall cause a notice to be affixed to a conspicuous place where the
         animal was situated or personally deliver a notice of the seizure or impoundment, or
         both, to the owner or keeper within 48 hours, excluding weekends and holidays. The
         notice shall include all of the following:
            (A) The name, business address, and telephone number of the officer providing
         the notice.
            (B) A description of the animal seized, including any identification upon the animal.
            (C) The authority and purpose for the seizure or impoundment, including the time,
         place, and circumstances under which the animal was seized.
             (D) A statement that, in order to receive a postseizure hearing, the owner or person
          authorized to keep the animal, or their agent, shall request the hearing by signing and
         returning an enclosed declaration of ownership or right to keep the animal to the
          agency providing the notice within 10 days, including weekends and holidays, of the
          date of the notice. The declaration may be returned by personal delivery or mail.
             (E) A statement that the full cost of caring for and treating any animal properly
          seized under this section is a lien on the animal and that the animal shall not be returned
          to the owner until the charges are paid, and that failure to request or to attend a
          scheduled hearing shall result in liability for this cost.
             (2) The postseizure hearing shall be conducted within 48 hours of the request,
          excluding weekends and holidays. The seizing agency may authorize its own officer
          or employee to conduct the hearing if the hearing officer is not the same person who
          directed the seizure or impoundment of the animal and is not junior in rank to that
          person. The agency may use the services of a hearing officer from outside the agency
          for the purposes of complying with this section.
             (3) Failure of the owner or keeper, or of their agent, to request or to attend a
          scheduled hearing shall result in a forfeiture of any right to a postseizure hearing or
          right to challenge their liability for costs incurred.
             (4) The agency, department, or society employing the person who directed the
          seizure shall be responsible for the costs incurred for earing and treating the animal,
          if it is determined in the postseizure hearing that the seizing officer did not have
          reasonable grounds to believe very prompt action, including seizure of the animal,
          was required to protect the health or safety of the animal or the health or safety of




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        others. If it is determined the seizure was justified, the owner or keeper shall be
        personally liable to the seizing agency for the full cost of the seizure and care of the
        animal. The charges for the seizure and care of the animal shall be a lien on the animal.
        The animal shall not be returned to its owner until the charges are paid and the owner
        demonstrates to the satisfaction of the seizing agency or the hearing officer that the
        owner can and will provide the necessary care for the animal.
           (g) Where the need for immediate seizure is not present and before the
        commencement of any criminal proceedings authorized by this section, the agency
        shall provide the owner or keeper of the animal, if known or ascertainable after
        reasonable investigation, with the opportunity for a hearing before any seizure or
        impoundment of the animal. The owner shall produce the animal at the time of the
        hearing unless, before the hearing, the owner has made arrangements with the agency
        to view the animal upon request of the agency, or unless the owner can provide
        verification that the animal was humanely euthanized. Any person who willfully fails
        to produce the animal or provide the verification is guilty of an infraction, punishable
        by a fine ofnot less than two hundred fifty dollars ($250) nor more than one thousand
        dollars ($1,000).
            (I) The agency shall cause a notice to be affixed to a conspicuous place where the
        animal was situated or personally deliver a notice stating the grounds for believing
        the animal should be seized under subdivision (a) or (b). The notice shall include all
        of the following:
            (A) The name, business address, and telephone number of the officer providing
        the notice.
            (B) A description of the animal to be seized, including any identification upon the
        animal.
            (C) The authority and purpose for the possible seizure or impoundment.
            (D) A statement that, in order to receive a hearing before any seizure, the owner
         or person authorized to keep the animal, or their agent, shall request the hearing by
         signing and returning the enclosed declaration of ownership or right to keep the animal
         to the officer providing the notice within two days, excluding weekends and holidays,
         of the date of the notice.
            (E) A statement that the cost of caring for and treating any animal properly seized
         under this section is a lien on the animal, that any animal seized shall not be returned
         to the owner until the charges are paid, and that failure to request or to attend a
         scheduled hearing shall result in a conclusive determination that the animal may
         properly be seized and that the owner shall be liable for the charges.
            (2) The preseizure hearing shall be conducted within 48 hours, excluding weekends
         and holidays, after receipt of the request. The seizing agency may authorize its own
         officer or employee to conduct the hearing if the hearing officer is not the same person
         who requests the seizure or impoundment of the animal and is not junior in rank to
         that person. The agency may use the services of a hearing officer from outside the
         agency for the purposes of complying with this section.




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            (3) Failure of the owneror keeper, or their agent, to request or to attend a scheduled
         hearing shall result in a forfeiture of any right to a preseizure hearing or right to
         challenge their liability for costs incurred pursuant to this section.
            (4) The hearing officer, after the hearing, may affirm or deny the owner's or
         keeper's right to custody of the animal and, if reasonable grounds are established,
         may order the seizure or impoundment of the animal for care and treatment.
            (h) If any animal is properly seized under this section or pursuant to a search
         warrant, the owner or keeper shall be personally liable to the seizing agency for the
         cost of the seizure and care of the animal. Further, if the charges for the seizure or
         impoundment and any other charges permitted under this section are not paid within
         14 days of the seizure, or if the owner, within 14 days of notice of availability of the
         animal to be returned, fails to pay charges permitted under this section and take
         possession of the animal, the animal shall be deemed to have been abandoned and
         may be humanely euthanized or otherwise properly disposed ofby the seizing agency.
            (i) If the animal requires veterinary care and the humane society or public agency
         is not assured, within 14 days of the seizure of the animal, that the owner will provide
         the necessary care, the animal shall not be returned to its owner and shall be deemed
         to have been abandoned and may be humanely euthanized or otherwise properly
         disposed of by the seizing agency. A veterinarian may humanely euthanize an
         impounded animal without regard to the prescribed holding period when it has been
         determined that the animal has incurred severe injuries or is incurably crippled. A
         veterinarian also may immediately humanely euthanize an impounded animal afflicted
         with a serious contagious disease unless the owner or the owner's agent immediately
         authorizes treatment of the animal by a veterinarian at the expense of the owner or
         agent.
             (i) No animal properly seized under this section or pursuant to a search warrant
         shall be returned to its owner until the owner can demonstrate to the satisfaction of
         the seizing agency or hearing officer that the owner can and will provide the necessary
          care for the animal.
             (k) (1) In the case of cats and dogs, before the final disposition of any criminal
          charges, the seizing agency or prosecuting attorney may file a petition in a criminal
          action requesting that, before that final disposition, the court issue an order forfeiting
          the animal to the city, county, or seizing agency. The petitioner shall serve a true copy
          of the petition upon the defendant and the prosecuting attorney.
             (2) Upon receipt of the petition, the court shall set a hearing on the petition. The
          hearing shall be conducted within 14 days after the filing of the petition, or as soon
          as practicable.
             (3) The petitioner shall have the burden of establishing beyond a reasonable doubt
          that, even in the event of an acquittal of the criminal charges, the owner will not
          legally be permitted to retain the animal in question. If the court finds that the petitioner
          has met its burden, the court shall order the immediate forfeiture of the animal as
          sought by the petition.
             (4) Nothing in this subdivision is intended to authorize a seizing agency or
          prosecuting attorney to file a petition to determine an owner's ability to legally retain




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         an animal pursuantto paragraph (3) of subdivision (l) ifa petition has previously been
         filed pursuant to this subdivision.
            (l) (1) Upon the conviction of a person charged with a violation of this section,
         or Section 597 or 597a, all animals lawfully seized and impounded with respect to
         the violation shall be adjudged by the court to be forfeited and shall thereupon be
         transferred to the impounding officer or appropriate public entity for proper adoption
         or other disposition. A person convicted of a violation of this section shall be personally
         liable to the seizing agency for all costs of impoundment from the time of seizure to
         the time of proper disposition. Upon conviction, the court shall order the convicted
         person to make payment to the appropriate public entity for the costs incurred in the
         housing, care, feeding, and treatment of the seized or impounded animals. Each person
         convicted in connection with a particular animal may be held jointly and severally
         liable for restitution for that particular animal. The payment shall be in addition to
         any other fine or sentence ordered by the court.
           (2) The court may also order, as a condition of probation, that the convicted person
         be prohibited from owning, possessing, caring for, or residing with, animals of any
         kind, and require the convicted person to immediately deliver all animals in the
         convicted person's possession to a designated public entity for adoption or other
         lawful disposition or provide proof to the court that the person no longer has
         possession, care, or control of any animals. In the event of the acquittal or final
         discharge without conviction of the person charged, if the animal is still impounded,
         the animal has not been previously deemed abandoned pursuant to subdivision (h),
         the court has not ordered that the animal be forfeited pursuant to subdivision (k), the
         court shall, on demand, direct the release of seized or impounded animals to the
         defendant upon a showing of proof of ownership.
           (3) Any questions regarding ownership shall be determined in a separate hearing
         by the court where the criminal case was finally adjudicated and the court shall hear
         testimony from any persons who may assist the court in determining ownership of
         the animal. If the owner is determined to be unknown or the owner is prohibited or
         unable to retain possession of the animals for any reason, the court shall order the
         animals to be released to the appropriate public entity for adoption or other lawful
         disposition. This section is not intended to cause the release of any animal, bird,
         reptile, amphibian, or fish seized or impounded pursuant to any other statute, ordinance,
         or municipal regulation. This section shall not prohibit the seizure or impoundrnent
         of animals as evidence as provided for under any other provision of law.
           (m) It shall be the duty of all peace officers, humane society officers, and animal
         control officers to use all currently acceptable methods ofidentification, both electronic
         and otherwise, to determine the lawful owner or caretaker of any seized or impounded
         animal. It shall also be their duty to make reasonable efforts to notify the owner or
         caretaker of the whereabouts of the animal and any procedures available for the lawful
         recovery of the animal and, upon the owner's and caretaker's initiation of recovery
         procedures, retain custody of the animal for a reasonable period of time to allow for
         completion of the recovery process. Efforts to locate or contact the owner or caretaker




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         and communications with persons claiming to be the owner or caretaker shall be
         recorded and maintained and be made available for public inspection.
          (Amended by Stats. 2019, Ch. 7, Sec. 19. (AB 1553) Effective January 1, 2020.)




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          State of California

          BUSINESS AND PROFESSIONS CODE

          Section 4827



          4827. (a) Nothing in this chapter prohibits any person from:
             (1) Practicing veterinary medicine as a bona fide owner of one's own animals.
          This exemption applies to the following:
             (A) The owner's bona fide employees.
             (B) Any person assisting the owner, provided that the practice is performed
          gratuitously.
             (2) Lay testing of poultry by the whole blood agglutination test For purposes of
          this section, "poultry" means flocks of avian species maintained for food production,
          including, but not limited to, chickens, turkeys, and exotic fowl.
              (3) Making any determination as to the status of pregnancy, sterility, or infertility
          upon livestock, equine, or food animals at the time an animal is being inseminated,
          providing no charge is made for this determination.
              (4) Administering sodium pentobarbital for euthanasia of sick, injured, homeless,
          or surrendered domestic pets or animals without the presence of a veterinarian when
          the person is an employee of an animal control shelter and its agencies or humane
          society and has received proper training in the administration of sodium pentobarbital
          for these purposes.
              (5) Providing the following care to animals lawfully deposited with or impounded
          by a shelter not registered with the board pursuant to Section 4853:
              (A) Administering preventative or prophylactic nonprescription vaccinations to
          the animal pursuant to protocols written by a veterinarian licensed in this state for the
          purposes of preventing the spread of communicable diseases, without the presence
          of a veterinarian when the person has received proper training in the administration
          of the nonprescription preventative or prophylactic vaccinations.
              (B) Administering nonprescription medications to the animal pursuant to protocols
           written by a veterinarian licensed in this state, for the control or eradication of apparent
           or anticipated internal or external parasites, including, but not limited to, fleas, ticks,
           or worms, without the presence of a veterinarian when the person has received proper
           training in the administration of the nonprescription medications for the control or
           eradication of those internal or external parasites. A person's decision to administer
           these medications shall not be construed to mean the person has made a diagnosis of
           the animal's medical condition.
              (C) Administering medications prescribed by a veterinarian licensed in the state
           to the animal without the presence of a veterinarian when the shelter has received a
           written treatment plan from the licensed veterinarian for that specific animal and has
           a dispensing protocol in place for the tracking of dispensed prescribed medications




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         and when the person has received proper training in the administrat'ion ofprescription
         medications.
           (b) For the purposes of paragraph (5) of subdivision (a):
            (I) "Proper training" means completing a training curriculum of at least four hours
         provided by a veterinarian licensed to practice in this state, and includes, but is not
         limited to, an overview of intake procedures and preventative medicine, recognizing
         when an animal is required to be seen by a veterinarian, prescription and
         nonprescription medications, humane animal restraint techniques, vaccination injection
         methods and procedures, and documentation.
            (2) "Shelter" means a public animal control agency or shelter, society for the
         prevention of cruelty to animals shelter, or humane society shelter that is not registered
         with the board pursuant to Section 4853.
            ( c) A shelter providing care to an animal pursuant to this section that is not
         registered with the board pursnantto Section 4853 shall report to the board any adverse
         event resulting in significant impairment or death from the care provided, on a form
         prescribed by the board, including severe injuries, infections, and unintended reactions
         caused by the incorrect or inappropriate administration of a vaccine or medications.
           (Amended by Stats. 2021, Ch. 631, Sec. 4. (AB 1535) Effective January l, 2022.)




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          SUPERIOR COURT OF CALIFORNIA
             COUNTY OF LOS ANGELES
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COURTHOUSE ADDRESS:
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Stanley Mask Courthouse                                                                   12/02Q022
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111 North Hill Street, Los Angeles, CA 90012                                                C.DalRio
                                                                              Sy:                                l)ap,~-ty
PLAINTIFF(S):

JULIA MILDENBERGER, in her individual capacity and in her capacity
DEFENDANT(S):

County of Los Angeles
                                                                            CASE NUMBER:
  NOTICE OF TRIAL SETTING CONFERENCE AND ATTACHED
                                                                            22STCP04242
                   ORDERS THEREON


You are hereby notified that the above matter has been set for trial setting conference on 03/09/2023
at 9:30 AM                _ __________________ _______
                      in Department
                            __:__
                                      85
of the above-entitled court.


You are ordered to give notice of this hearing and serve a copy of this notice to all parties to the action
within 1O days of service of this notice.




                                                   Sherri R. Carter, Executive Officer/ Clerk of Court

Date: 12/02/2022                                       By, C. Del Rio
                                                                        Deputy Clerk




        NOTICE OF TRIAL SETTING CONFERENCE AND ATTACHED ORDERS THEREON

 LACIVXXX
 LASC Approved 00/00

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                                                                                        Reserved for Clerk's File Stamp
            SUPERIOR COURT OF CALIFORNIA
               COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:                                                                                    FILED
                                                                                      Supstiar Cm.in of California
Stanley Mosk Courthouse                                                                County of LosAngslaa
111 North Hill Street, Los Angeles, CA 90012                                                     12/02/2022
PLAINTIFF/PETITIONER:                                                       :i:'1~TI R C:rt,~~~-E:V.!0.;.1:;:.;'i:~0~<..12: l .'..1lJci<.:tfCdtJ;l
JULIA MILDENBERGER, in her individual capacity and in her capacity            By:                    C.OenRla                      l.l!:pu1y
as CEO of Southern California Cat Adoption Tails,; a California
nonprofit corporation
DEFENDANT/RESPONDENT:
County of Los Angeles
                                                                            CASE NUMBER:
                        CERTIFICATE OF MAILING                              22STCP04242

I, the below-named Executive Officer/Clerk of the above-entitled court, do hereby certify that I am not a
party to the cause herein, and that on this date I served the Notice of Trial Setting Conference and Attached
Orders Thereon upon each party or counsel named below by placing the document for collection and
mailing so as to cause it to be deposited in the United States mail at the courthouse in Los Angeles,
California, one copy of the original filed/entered herein in a separate sealed envelope to each address as
shown below with the postage thereon fully prepaid, in accordance with standard court practices.




    MARLA A TAUSCHER
    Law Office of Marla Tauscher
    225 S, LAKE AVE., STE. 300
    PASADENA, CA 91101




                                                      Sherri R. Carter, Executive Officer / Clerk of Court

 Dated: 12/2/2022                                     By: C. Del Rio
                                                            Deputy Clerk



                                                                                                                                     103
                                      CERTIFICATE OF MAILING
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                              Exhibit F
                                                                        104
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                                                                                                    Reserved for Clark's File Stamp
                 SUPERIOR COURT OF CALIFORNIA
                    COUNTY OF LOS ANGELES
  COURTHOUSE ADDRESS:
                                                                                                              FILED
 Stanley Mosk Courthouse                                                                           Superlot Court d Calil'ttnia
 111 North Hill Street, Los Angeles, CA 90012                                                        County of l.Os Angeles
                                                                                                          12/01/2022
                   NOTICE OF CASE ASSIGNMENT                                              Sntni R Cats,tXlileill!WGOftced ~afCawl
                                                                                           By:                R. Pettit:              {)e,pu1y
                          UNLIMITED CIVIL CASE

                                                                                    CASE NUMBER:

  Your case is assigned for all purposes to the judicial officer indicated below.   22STCP04242

                           THIS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT
               ASSIGNED JUDGE               DEPT      ROOM                    ASSIGNED JUDGE                         DEPT             ROOM
   ✓     James C. Chalfant                  85




    Given to the Plaintiff/Cross-Complainant/Attorney of Record   Sherri R. Carter, Executive Officer/ Clerk of Court
    on 12/01/2022                                                         By R. Perez                                                 Deputy Clerk
                 (Date)
LACIV 190 (Rev 6/18)       NOTICE OF CASE ASSIGNMENT - UNLIMITED CIVIL CASE                                                              105
LASC Approved 05/06
        Case 2:23-cv-00056 Document 1-1 Filed 01/05/23 Page 106 of 140 Page ID #:108


                                    INSTRUCTIONS FOR HANDLING UNLIMITED CIVIL CASES

The following critical provisions of the California Rules of Court, Title 3, Division 7, as applicable in the Superior Court, are summarized
for your assistance.

APPLICATION
The Division 7 Rules were effective January I, 2007. They apply to all general civil cases.

PRIORITY OVER OTHER RULES
The Division 7 Rules shall have priority over all other Local Rules to the extent the others are inconsistent.

CHALLENGE TO ASSIGNED JUDGE
A challenge under Code of Civil Procedure Section 170.6 must be made within IS days after notice of assignment for all purposes
to a judge, or if a party has not yet appeared, within 15 days of the first appearance.

TIME STANDARDS
Cases assigned to the Independent Calendaring Courts will be subject to processing under the following time standards:

COMPLAINTS
All complaints shall be served within 60 days of filing and proof of service shall be filed within 90 days.

CROSS-COMPLAINTS
Without leave of court first being obtained, no cross-complaint may be filed by any party after their answer is filed. Cross-
complaints shall be served within 30 days of the filing date and a proof of service filed within 60 days of the filing date.

STATUS CONFERENCE
A status conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the
complaint. Counsel must be fully prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement,
trial date, and expert witnesses.

FINAL STATUS CONFERENCE
The Court will require the parties to attend a final status conference not more than 10 days before the scheduled trial date. All
parties shall have motions in limine, bifurcation motions, statements of major evidentiary issues, dispositive motions, requested
form jury instructions, special jury instructions, and special jury verdicts timely filed and served prior to the conference. These
matters may be heard and resolved at this conference. At least five days before this conference, counsel must also have exchanged
lists of exhibits and witnesses, and have submitted to the court a brief statement of the case to be read to the jury panel as required
by Chapter Three of the Los Angeles Superior Court Rules.

SANCTIONS
The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by the
Court, and time standards or deadlines established by the Court or by the Chapter Three Rules. Such sanctions may be on a party,
or if appropriate, on counsel for a party.

This is not a complete delineation of the Division 7 or Chapter Three Rules, and adherence only to the above provisions is
therefore not a guarantee against the imposition of sanctions under Trial Court Delay Reduction. Careful reading and
compliance with the actual Chapter Rules is imperative.

Class Actions
Pursuant to Local Rule 2.3, all class actions shall be filed at the Stanley Mosk Courthouse and are randomly assigned to a complex
judge at the designated complex courthouse. If the case is found not to be a class action it will be returned to an Independent
Calendar Courtroom for all purposes.

*Provisionally Complex Cases
Cases filed as provisionally complex are initially assigned to the Supervising Judge of complex litigation for determination of
complex status. If the case is deemed to be complex within the meaning of California Rules of Court 3.400 et seq., it will be
randomly assigned to a complex judge at the designated complex courthouse. If the case is found not to be complex, it will be
returned to an Independent Calendar Courtroom for all purposes.




LACIV 190 (Rev 6/18)         NOTICE OF CASE ASSIGNMENT - UNLIMITED CIVIL CASE                                                  106
LASC Approved 05/06
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                             Exhibit G

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                3UPERIOR COURT OF CALIFORNIA                                                                                        I
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I COURTHOUSE ADDRESS:                                                                     Su;i~o Coort of califcrnia
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iStanley Mosk Courthouse
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                                                                                                 12/02/2022
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     111 North Hill Street, Los Angeles, CA 90012
                                                                                    By:            C. Del Rio          Dec>i.;t~·
     PLAINTIFF(S):

     JULIA MILDENBERGER, in her individual capacity and in her capacity
     DEFENOANT(S):

     County of Los Angeles
                                                                                  CASE NUMBER:
          NOTICE OF TRIAL SETTING CONFERENCE AND ATTACHED                                                                           I
                           ORDERS THEREON                                        22STCP04242
                                                                                                                                    I'
     You are hereby notified that the above matter has been set for trial setting conference on 03/09/2023
     at 9:30 AM            in Department 85
                                 --------- --------- ---------
     0f   the above-entitled court.


     You are ordered to give notice of this hearing and serve a copy of this notice to all parties to the action
     within 10 days of service of this notice.




                                                        Sherri R. Carter, Executive Officer/ Clerk of Court

     Date: 12/02/2022                                       By, C. Del Rjo
                                                                           Deputy Clerk




              NOTICE OF TRIAL SETTING CONFERENCE AND ATTACHED ORDERS THEREON

     LACIV XXX
     LASC Approved 00/00

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                            · Exhibit H

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                      Case 2:23-cv-00056 Document 1-1 Filed 01/05/23 Page Officer/Clerk
                                                                          110 of 140              Page ID #:112
                                                                                        of Court, by R. Perez.Deputy C rk
Electronically FILE   y Superior Court of California, County of Los Angeles on 12/07/2022 09:44 AM Sherri R. Carter, Executive




                 1
                       MARLA TAUSCHER, SBN 259630
                 2     225 S. Lake Ave., Ste. 300
                       Pasadena, California 91101
                 3     Phone: (626) 345-5777
                 4     Fax: (760) 444-2742
                       e-mail: marla@attymat.com
                 5
                       Attorney for Petitioner/Plaintiff
                 6     JULIA MILDENBERGER
                 7

                 8
                                                 SUPERIOR COURT OF THE STATE OF CALIFORNIA
                 9                                         COUNTY OF LOS ANGELES
                10
                                                        STANLEY MOSK COURTHOUSE

                11

               12                                         ) Case No.: 22STCP04242
                       JULIA MILDENBERGER, in her individual
                                                          )·
                       capacity and in her capacity as CEO of
                13
                       SOUTHERN CALIFORNIA CAT               EXPARTE APPLICATION FOR           j
                14                                        ) TE11PORARY RESTRAINING ORDER
                       ADOPTION TAILS; a California nonprofit
                       corporation,                       ) AND OSC
                15                                        )
                                Petitioner/Plaintiff      )
                16                                        )
                                      vs.                 )
                17
                                                          )
                                                             [Declarations of Julia Mildenberger and Marla
                18
                                                          )
                       COUNTY OF LOS ANGELES; and DOES 1 ) Tauscher filed concurrently]
                19
                       through 50, inclusive,             )
                                                          )
                20              Respondents/Defendants    ) Petition Filed: December 1, 2022
                                                          ) Department: 85
                21                                        ) Judge:          Hon. James Chalfant
                                                          )
                                                             Hearing Date:  December 8, 2022
                22                                        )
                                                           ) Hearing  Time: 8:30 a.m.
                23                                         ) Trial Date:    TBD
                                                          )
                24                                         )
                                                           )
                25                                         )
                                                           )
                26
                                                           )
                27     __________ _____                 __;)

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                                        E)( PARTE APPLICATION FOR TEMPORARY RESTRAJNING ORDER AND ORDER TO SHOW CAUSE



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1    TO THE HONORABLE COURT AND ALL PARTIES AND THEIR ATTORNEYS OF
2    RECORD:
3           PLEASE TAKE NOTICE that on Thursday, December 8, 2022, at 8:30 a.m., or as soon
4    thereafter as this matter may be heard in Department 85 of the above-entitled court, located at
5    111 N. Hill Street, Los Angeles, CA 90012, Petitioner/Plaintiff Julia Mildenberger (hereinafter
6    "Petitioner/Plaintiff'') will, and hereby does, apply to the Court ex parte pursuant to California
7    Rule of Court 3.1300(b) for a Temporary Restraining Order C'TRO") and Order to Show Cause
8    ("OSC") why a preliminary injunction should not issue. This Application is made to compel
9    Respondent County of Los Angeles to immediately return to Petitioner/Plaintiff animals seized
10   from her property by Respondent/Defendant County of Los Angeles Department of Animal
11   Control (hereinafter "LADAC") on October 26, 2022
12          Petitioner files this Ex Parte Application for a Temporary Restraining Order to compel
13   the return of Petitioner/Plaintiff's animals to her because LAD AC has disregarded all applicable
14   laws governing the seizure of animals in cases where animal neglect is alleged.

15          This motion is based upon this Application, the attached Memorandum of Points and
16   Authorities, Declaration of Marla Tauscher, Declaration of Julia Mildenberger, Order to Show
17   Cause, and the pleadings, files and records herein, and such additional argument as may be
18   presented by Petitioner at or before the hearing on this Ex Parte Application.
19           Petitioner/Plaintiff hereby applies for, and submits that the interests of justice require
20   that, a Temporary Restraining Order issue to compel LADAC to immediately return all of the
21   seized animals to Petitioner/Plaintiff Julia Mildenberger.

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                 EXPARTE APPLICA110N FOR TEMPORARY RESTRAINING ORDER AND ORDER TO SHOW CAUSE

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1                        MEMORANDUM OF POINTS AND AUTHORITIES

2                                 I.      STATEMENT OF THE CASE

3            Petitioner/Plaintiff runs a non-profit animal rescue called Southern California Cat
4    Adoption Tails (hereinafter "SCCAT") from her property in Littlerock, California.
5    Petitioner/Plaintiff has saved the lives of thousands of cats, kittens, and dogs since the rescue' s
6    inception in 2006. Petitioner/Plaintiff has held animal facility licenses (hereinafter "kennel
7    permits") for both cats and dogs issued by LADAC since 2011 when she moved to Littlerock,
8    California.
9            Every year, Petitioner/Plaintiff has received a grade of "A" based on inspections by
10   LADAC personnel. See Exhibit 2 to Writ Petition and Complaint. The inspection reports from
11   previous years are missing and were likely taken by LADAC in the "box of Misc. documents"
12   that they seized from Petitioner/Plaintiff's property.
13           Since the beginning of the COVID-19 pandemic, in approximately March 2020, LADAC
14   (and many other Southern California animal control agencies, including Los Angeles Animal
15    Services - City animal control) have refused to take in cats or kittens despite the fact that taking
16    in abandoned and stray animals is quite literally their job. Since early 2020, LADAC personnel
17    have routinely been telling animal rescue organizations and individuals to just dump stray and
18    abandoned animals where they found them, on the streets, in fields, or somewhere else.
19           As a result of LADAC's unofficial policy of refusing to take in animals,
20    Petitioner/Plaintiff has had litters of kittens and puppies dumped just outside the gate of her
21    facility for over two years. In just the six weeks leading up to the raid on her property alone, 5
22    or 6 litters of kittens (about 30 kittens in total) were dumped outside Petitioner/Plaintiff's
23    property. Similarly, a litter of 8 puppies was abandoned just outside Petitioner/Plaintiff's gate a
24    week before the raid on October 26, 2022.
2s            In mid-August 2022, Petitioner/Plaintiff submitted the required paperwork and payment
26    for the renewal of her kennel permit which was set to expire on September 2, 2022 and has been
27    waiting for LADAC to conduct its annual inspection. To that end, on October 18, 2022,

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                   EX PARTE APPLICATION FOR TEMPORARY RESTRAINING ORDER AND ORDER TO SHOW CAUSE

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1    Petitioner/Plaintiff's counsel contacted LAD AC personnel in charge of licensing, Lisa Eldridge
2    (hereinafter "Eldridge") to inquire about the status of the inspection. Eldridge responded to
3    counsel that day by falsely stating, " ... our business license inspectors are backlogged and we
4    don't anticipate being out for several weeks." At the time she responded, Eldridge had no
5    intention of conducting an inspection and was already well into the planning of her raid on
6    Petitioner/Plaintiff's property a week later.
7           Instead of conducting an inspection, Eldridge showed up at Petitioner/Plaintiff's property
8    early on the morning of October 26, 2022 with approximately 12 LADAC personnel and an
9    additional 12 Los Angeles County Sheriff Department deputies (hereinafter ''LASD").
10   Petitioner/Plaintiff had taken several cats to the LADAC Palmdale facility early on the morning
11   of October 26, 2022 to have them spayed and neutered.
12           When she arrived home, after entering the property, Petitioner/Plaintiff went to close the
13   gates to the property and was accosted by a dozen LASD personnel in full riot gear with guns
14   drawn - for a raid on a cat rescue!
15           LASD deputies ordered Petitioner/Plaintiff to exit the property, held her h~ds behind her
16   back, and locked her in the back seat of a Sheriff car for more than an hour and a half, while
17   refusing to tell Petitioner/Plaintiff why they were there. Only when Petitioner/Plaintiff was
18   released from the sheriff car, was she told that the reason they were there was to seize all of the
19   animals on the property.
20           Petitioner/Plaintiff was not informed of the existence of a search warrant until LAD AC
21   and LASD personnel were leaving her property, at approximately 4:00 p.m., when someone
22   handed Petitioner/Plaintiff a copy of the search warrant - without the statement/affidavit of
23   probable cause - as they were exiting her property.
24           LADAC was not entitled to seek or serve a search warrant under the circumstances.
25   California law, specifically California Penal Code (hereinafter "PC") §597.1 governs the
26   seizure and impoundment of animals where animal neglect is alleged. PC §597.1 is a complex

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1    statute, with 13 subsections, many of which are intended to safeguard animal owners'
2    Constitutional right to due process.
3                                           II.     ARGUMENT

4                A. LADAC Was Not Entitled to Obtain a Search Warrant Under the
5                      Circumstances
6            Where a person's property is taken by the government, the due process clause of the
7    Fourteenth Amendment requires some form of notice and a hearing. Beaudreau v. Superior
 8   Court {1975) 14 Cal.3d 448, 458; Mathews v. Eldridge (1976) 424 U.S. 319.                     "Absent

 9   extraordinary circumstances justifying resort to summary procedures, the hearing must take
10   place before the property is taken." As explained in Fuentes v. Shevin (1972) 407 U.S. 67, 81-
11   82. "If the right to notice and a hearing is to serve its full purpose, then, it is clear that it must
12   be granted at a time when the deprivation can still be prevented." In other words, before the
13   deprivation of property. If LADAC claims that it seized the animals pursuant to some other
14   statute or provision, it is still not relieved of the requirement to convene a hearing promptly after
15   the seizure.
16           fudeed, California Penal Code §597.1, the onlv statute that provides for the seizure of
17   tl,e animals in this case, sets forth specific procedures for hearings related to the seizure of
18   animals in cases of suspected neglect.        PC §597.1 contains pre- and post-seizure hearing

19   provisions in subsections (f) and (g) that were added to PC §597.1 in 1990 by AB35, which
20   recognized the need for due process with respect to the seizure of animals.
21            PC §597.1 subsection (g) requires a pre-seizure hearing where there is no need for an
22    immediate seizure of animals. LADAC made no attempt whatsoever to comply with the pre-
23    seizure hearing requirements of PC §597.1, because they were intent on seizing animals

24    regardless of the facts.
25            PC §597.l(f) permits the seizure of animals prior to a hearing only where there is a
26    "reasonable belief that prompt action is required to protect the health or safety of the animal or
27    the health or safety of others." There are no facts cited in the search warrant that could have led

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                    EX PARTE APPLICATION FOR TEMPORARY RESTRAINING ORDER AND ORDER TO SHOW CAUSE

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     to a reasonable belief that an immediate seizure of the animals was necessary or justified.
2    Interestingly, there are no facts alleged in the subsequent press release issued by LADAC that
3    would constitute exigent circumstances.
4            PC §597.1 (f) sets forth the requirements and procedures for a "post-seizure hearing to

5    determine the validity of the seizure or the impoundment or both", all of which have been
6    ignored by LADAC. The seizing agency is required to post or personally serve the owner or
7    custodian of the animals with notice that he/she is entitled to a hearing to challenge the validity
8    of the seizure or impoundment.
 9           That notice is required to be personally served or posted at the property from which the
10   animals were seized within 48 !tours of the seizure, excluding weekends and holidays. PC
11   §597.1 (f)(l). In this case, LADAC was required to post notice of the seizure and
12   Petitioner/Plaintiffs right to a post-seizure hearing by end of day Friday, October 28, 2022. As
13   of this writing, 42 days after the seizure of the animals, LAD AC has failed to post notice of a
14   post-seizure hearing, in violation of State law and Petitioner/Plaintiff's Constitutional right to
15    due process.
16           LADAC has also failed to provide any information about the disposition of the animals
17    and LADAC's fees for holding the animals, among other things, despite written requests from
18    Petitioner/Plaintiffs counsel. In the absence of exigent circumstances, LADAC was required
19    by PC 597.l(g) to conduct a hearing prior to the seizure of the animals, to safeguard
20    Petitioner/Plaintiffs right to due process. Broden v. Marin Humane Society (1999) 70 Cal. App.
21    4th 1212, 1220-1221. In seizing Petitioner/Plaintiffs animals, LADAC has ignored all of the
22    statutory requirements that govern such endeavors, namely several provisions of California
23    Penal Code (hereinafter "PC'') §597.1, which governs the seizure of animals in cases of
24    suspected neglect/abuse.
25       Petitioner/Plaintiff was not arrested and no charges have been filed against her, so she has
26    no legal recourse at this point, other than filing a lawsuit and this application for a temporary
27    restraining order to redress her ongoing injury; the deprivation of her animals.
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                 EX PARTE APPLICATION FOR TEMPORARY RESTRAlNING ORDER AND ORDER TO SHOW CAUSE

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                  B. LADAC Must be Estopped from Refusing to Return the Animals to
2                    Petitioner/Plaintiff Based on Kennel Permits LADAC Allow~ to Lapse
3            As part of the annual renewal of kennel permits, LADAC performs inspections of the
4    pe1mitholders' facilities. Petitioner/Plaintiff has held kennel permits for cats and dogs since
s    2011. Those permits expire on September 2 every year, but LADAC has not performed its
6    annual inspection prior to the expiration date of the permits ever. In fact, in past years, LADAC
7    has performed its annual inspection of Petitioner/Plaintiffs facility as late in the year as late
s    December.
 9           Petitioner/Plaintiff paid the requisite permit renewal fee on August 15, 2022 and her
10   check was cashed by the County on August 23, 2022. Attached hereto as Exhibit 1 is a true and
11   correct copy of the check from Petitioner/Plaintiff to LADAC. When LADAC had not contacted
12   Petitioner/Plaintiff for an inspection by mid-October 2022, Petitioner/Plaintiff contacted
13   LADAC to inquire about the inspection and was told by Eldridge that " ... our business license
14   inspectors are backlogged and we don't anticipate being out for several weeks."             Attached

15   hereto as Exhibit 2 is a true and correct copy of the email exchange with Eldridge.
16   Petitioner/Plaintiff had no reason to disbelieve that statement at the time, based on past
11   precedent.
1s           "Equity does not wait upon precedent which exactly squares with the facts in controversy,
19   but will assert itself in those situations where right and justice would be defeated but for its
20   intervention." Times Mirror Company v. Superior Court of Los Angeles County (1935) 3 Cal.
21   2d. 309, 331. The doctrine of equitable estoppel has roots in conscience and fair dealing.
22    Equitable estoppel requires four factors: (1) the party to be estopped must be apprised of the
23   facts; (2) he must intend that his conduct shall be acted upon, or must so act that the party
24    asserting the estoppel had a right to believe it was so intended; (3) the other party must be
25    ignorant of the true state of facts; and (4) he must rely upon the conduct to his injury. Kieffer v.
26    Spencer (1984) 153 Cal. App. 3d 954, 963.

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                  EX PARTE APPLICATION FOR 1EMPORARY RESTRAINING ORDER AND ORDER TO SHOW CAUSE

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1            In this case, LADAC personnel were 100% in control of the timing and facts of the
2    inspection of Petitioner/Plaintiff's facility and had all of the infonnation needed to conduct the
3    inspection. When Eldridge told Petitioner!Plaintiff on October 18, 2022 that LADAC inspectors
4    were backlogged and would conduct the inspection in "several weeks", Eldridge knew she was
s    lying, but Petitioner/Plaintiff had no way of knowing that at the time. Because the annual
6    inspections were not conducted on time in previous years, Petitioner/Plaintiff had no reason to
7    believe that the inspection would be any different from previous years and she relied on
s    Eldridge's statement that the inspection would take place in several weeks. Petitioner/Plaintiff
9    took no further action to compel an inspection and issuance of the renewed permit because she
1o   believed Eldridge.
11           LADAC must be estopped from intentionally allowing a kennel pennit to expire through
12   its own conduct - failing to conduct timely facility inspections - to subsequently claim that a
13   permit is expired and refuse to return animals, or to take any other punitive action, based on its
14   own conduct.

15               C. A TRO Should Be Granted Because LADAC Has No Legal Basis for
16                   Continuing to Detain Petitioner/Plaintiff's Animals
11           The language of PC §597.1 is unambiguous and unconditional and expressly provides
18    for pre-seizure and post-seizure hearings in connection with the seizure of animals. The express

19    language of PC §597.l(a)(l) makes very clear that the seizure and impoundment of animals in

20    cases of suspected neglect was intended only to apply to "stray and abandoned animals".

21           Furthermore, several subsections of PC §597.1 make clear that the seizure and

22    impoundment of animals in such cases was not intended to pennanently deprive the animal's

23    owner of possession and ownership of the animals and make direct reference to returning the

24    animals to their owner. PC §597.1 (/)(4), (h), (i), and (j).

25           LADAC disregarded PC §597.1 in its entirety when it seized Petitioner/Plaintiff's

26    animals alleging animal neglect. As such, LADAC had no basis for the seizure of the animals

27    and, likewise, has no legal basis for the continued impoundment of Petitioner/Plaintiff's animals,

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                  EX PARTE APPLICATION FOR 1EMPORARY RESTRAINING ORDER AND ORDER TO SHOW CAUSE

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     especially where LAD AC will demand payment for daily "boarding" and other fees at rates they
2    refuse to disclose and that will likely have no relationship to the actual cost of care of the animals
3    they unlawfully seized.
4        D. An Injunction Should Issue Where (1) the Applicant is Likely to Prevail on the
5    Merits; and (2) the Applicant Will Suffer Irreparable Harm iflnjunctive Relief is Denied
6            A superior court must evaluate two interrelated factors when determining whether
7    injunctive relief is appropriate: (1) the likelihood that the plaintiff will prevail on the merits at
8    trial and (2) the hann that a plaintiff will likely sustain if an injunction is denied balanced against
9    the possible harm the defendant would be likely to suffer if the preliminary injunction were
10   issued. Cohen v. Board of Supervisors (2010) 40 Cal. 3d 277,286. Weighing these factors lies
11   within the broad discretion of the superior comt. Butt v. State of California (1992) 4 Cal. 4th
12   668,678.
13           1. Petitioner is Likely to Prevail on the Merits at Trial Where the Law Clearly

14               Requires LADAC to Comply with the Law Governing the Seizure of Animals in

15                Cases Where Animal Neglect is Alleged

16           As discussed above, and in more detail in the Petition for Writ of Mandate and Complaint

17   for Damages pursuant to 42 US.S. §1983, the continued impoundment of Petitioner/Plaintiffs

18   animals where LADAC has ignored all of the hearing requirements of PC §597.1 is unlawful

19   and must be invalidated. The return ofher animals to Petitioner/Plaintiff under the circumstances

20    is a matter of black letter law, not subject to discretion.

21            2. Petitioner Will Suffer Irreparable Harm If LADAC Does Not Return Her

22                Animals Immediately as Required by Law

23            Animals are unlike other types of property, in that they each have distinct characteristics.

24    They cannot be replaced like a car or a sofa because each is unique and cherished for its

25    individual qualities. Petitioner/Plaintiff has devoted decades of her life to rescuing discarded

26    animals and has spent thousands of dollars to incorporate her rescue organization, and to

27    construct buildings and other structures for housing the animals. She has spent countless hours

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                  EX PARTE APPLICATION FOR TEMPORARYRESTRAINJNG ORDER AND ORDER TO SHOW CAUSE

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1    providing quality care for the animals at her facility. So much so, that LADAC has rated her

2    facility "A" for years, even as recently as February 2022.
3            The disposition of the seized animals is unknown because LADAC refuses to disclose

4    the information. LADAC has likely already killed some of the seized animals and will likely

s    begin transferring the animals to third parties, if it has not done so already. Killing the animals
6    and/or transferring them to others would permanently deprive Petitioner/Plaintiff of her animals,

7    without affording her even a pretense of due process; no notice, no opportunity to be heard prior

8    to, or after the seizure.

9            "If denial of an injunction would result in great harm to the plaintiff, and the defendants
10   would suffer little harm if it were granted, then it is an abuse of discretion to fail to grant the

11   preliminary injunction." Robbins v. Sup.Ct. (County ofSacramento) (1985) 38 Cal. 3d 199,205.

12   The County would not suffer any harm if injunctive relief is granted, because (1) LADAC would

13   have approximately 200 fewer animals to house and feed, freeing up space for other animals who
14   have the misfortune of ending up at an animal control facility; (2) LADAC would have to kill

1s   fewer animals for lack of space; (3) LADAC would actually save money and resources by having

16   200 fewer animals to house and feed.
11           By contrast, if LAD AC is not compelled to return her animals, Petitioner/Plaintiff will

18    be devastated. Her rescue organization will cease to exist and she will have spent untold dollars

19   with no future in rescue. There is nothing that can compensate her for the loss of her life's

20    passion if Petitioner/Plaintiff's animals are permanently taken from her.

21           It is clear that LADAC has no intention of providing a post-seizure hearing to determine

22    whether its seizure of the animals was valid, depriving Petitioner/Plaintiff of her only avenue to

23    due process at this point. In any event, it is too late to convene a post-seizure hearing. LADAC

24    has forfeited its only opportunity to deem its seizure valid, and has no legal grounds for continued

25    impoundment of the animals or to charge fees for said impoundment and seizure.

26           There is no remedy other than an injunction to prevent LADAC from unlawfully

27    continuing to withhold Petitioner/Plaintiff's animals that would redress the injury to

28


                  EX PARTE APPLICATION FOR TEMPORARY RESTRAINING ORDER AND ORDER TO SHOW CAUSE

                                                        10
                                                                                                           119
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1    Petitioner/Plaintiff. "The court must exercise its discretion 'in favor of the party most likely to
2    be injured'." Robbins, supra, at 205.
3           A TRO may issue when it appears from the facts shown by a.verified complaint that great
4    or irreparable injury will result to the applicant before the matter can be heard on notice. Cal.
5    Code ofCiv. Proc. §527(c)(l). An injunction may also issue when it appears the commission or
6    continuance of some act during the litigation would produce waste, or great or irreparable injury,
7    to a party to the action. Cal. Code of Civ. Proc. §526(a)(2).
g           The injury to Petitioner/Plaintiff began when LADAC seized and impounded her animals
9    on October 26, 2022 and continues unabated as LADAC has failed to provide even minimal due
10   process in the form of a hearing. The deprivation of her animals for so long has been hard enough
11   for Petitioner/Plaintiff, but continued impoundment and permanent deprivation would be
12   unbearable for Petitioner/Plaintiff and her rescue organization.
13          Nothing can bring back the time lost with her animals, but a temporary restraining order
14   compelling the return of the animals would go a long way toward righting this wrong. An
15   injunction compelling the return of Petitioner/Plaintiff's animals would further serve the public
16   interest by discouraging LADAC from seizing and impounding people's animals in
17   contravention of applicable law.

1s       E. A Temporary Restraining Order May Issue to Prevent Violation of the Rights of a
19   Party in Litigation

20           An injunction may be granted where it appears, during the litigation, that a party to the

21   action is doing, or threatens, or is about to do, or is procuring or suffering to be done, some act

22   in violation of the rights of another party to the action respecting the subject of the action and

23   tending to render the judgment ineffectual. Cal. Code of Civ. Proc. §526(a)(3). The County and

24   LADAC have already violated Petitioner/Plaintiff's rights by unlawfully continuing to withhold

25   her animals from her and giving no indication that they intend to return them. In fact, LADAC

26   has not provided any information about the animals at all.

27

28

                 EX PARTE APPLICATION FOR TEMPORARY RESlRAINING ORDER AND ORDER TO SHOW CAUSE

                                                       II

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            At LADAC's facilities, Petitioner/Plaintiffs animals are being neglected, in violation of
2    California animal cruelty statutes. California law, specifically, Penal Code §597t requires every
3    person who keeps any animal in confmement, to provide an adequate exercise area for the

4    animal. LADAC does not provide any exercise for what it calls "evidence" animals. They are
5    confined in small cells, in isolation, 24 hours a day without any human or animal interaction or
6    stimulation. The animals are deprived of any comfort and forced to live in concrete or metal
7    enclosures in solitary confinement without any bedding, blankets or other creature comforts.
8    The conditions in which they are maintained by LADAC would constitute animal cruelty in any
 9   other context and are detrimental to the animals' physical and mental well-being.
10          For the above reasons, a Temporary Restraining Order should be immediately issued to
11   prevent further harm to Petitioner/Plaintiff and her animals and to compel the County to return
12   the animals to Petitioner/Plaintiff immediately.
13          WHEREFORE Petitioner/Plaintiff prays for judgment against Respondents/Defendants

14   as follows:

15                    1. For an order requiring defendant to show cause, if any, why it should not be

16                        enjoined as set forth in this complaint during the pendency of this action;

17                    2. For an order to LADAC to immediately return Petitioner/Plaintiffs animals

18                        to her unconditionally, without fees for impound/storage of the animals;

19                    3. Issuance of an order prohibiting LADAC (or its agents) from making any

20                        disposition of the seized animals adverse to the interests of Petitioner/Plaintiff

21                        pending the resolution of this matter in its entirety; and

22                    4. Issuance of an order prohibiting LADAC from demanding any payment as a

23                        condition or prerequisite for retaining ownership of the seized animals

24                        pending the resolution of this matter in its entirety.

25                                                            Respectfully Submitted,
      Dated: December 6, 2022
26
                                                     By:      \s\ Marla Tauscher
27                                                            Attorney for Petitioner/Plaintiff
                                                              Julia Mildenberger
28

                   EXPARTE APPLICATION FOR TEMPORARY RESTRAINING ORDER AND ORDER TO SHOW CAUSE

                                                         12

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           EXHIBIT 1
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<                                        IMAGE DETAILS                     ~ I Back


         S.C. CAT ADOPTION TAILS, INC.
         ,.o.BOX 922754
         mMitiR. CA 91392
         PH. 818-90-·1~1




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Case 2:23-cv-00056 Document 1-1 Filed 01/05/23 Page 124 of 140 Page ID #:126




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          EXHIBIT 2
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Marla Tauscher

From:                            --~i~~ ,~l~rii:jg~--.-~h~l9ri~g?@~nimalcare.lacounty.gov>
Sent:                            Jllesday, Qctq~er18,20~~ 12:55 PM
To:                              Marla Tauscher
Cc:                              Harold Holmes
Subject:                         Re: SCCA Permit



Hello Marla,

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...Jeeks.'I apologize for the inconvenience.         - ---        -     - - - -                      -   - - -- ----   -   --


Lisa Eldridge
County of Los Angeles
DACC - Public Safety Division Manager
31044 Charlie Canyon Road
Castaic, Ca 91384
661-257-3191
Sent from Outlook Mobile

From: Harold Holmes <HHolmes@animalcare.lacounty.gov>
Sent: Tuesday, October 18, 2022 12:49 PM
To: Marla Tauscher <marla@attymat.com>
Cc: Lisa Eldridge <LEldridge@animalcare.lacounty.gov>
Subject: RE: SCCA Permit

Good afternoon Ms. Tauscher,

I am copying Lisa Eldridge on this response because she will better be able to answer your question and make
arrangements to move things along. Thank you for your understanding.

Sincerely,

Harold W. Holmes
He, him, his
Executive Assistant
County of Los Angeles
Department of Animal Care and Control
5898 Cherry Avenue
Long Beach, CA 90805
Tel (562)256-1362/Fax(S62}422-3408
hholmes@animalcare.lacounty.gov




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and may contain confidential and privileged information. Any unauthorized review, use, disclosure, or distribution is
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destroy all copies of the original e-mail.




From: Marla Tauscher <marla@attymat.com>
Sent: Tuesday, October 18, 2022 11:44 AM
To: Harold Holmes <HHolmes@animalcare.lacounty.gov>
Subject: SCCA Permit


.cALlflON:Exte~~I        Email.iProc:~~d R~ponsibly'.
Hi Harold,

My client, Julia Mildenberger, had a hearing with you and Lisa Eldridge and me on April 26, 2022. We agreed
that LADACC would conduct their inspections on Wednesdays or Fridays so that Ms. Mildenberger could make
sure she is there when officers arrive. She has paid the annual renewal fee for her kennel permit as of
September 2, 2022, but there has been no permit issued, because no one has come to conduct an inspection or
contacted her about it.

She is available on Wednesdays and Fridays and would like to have the inspection done so she doesn't have to
wait around on those days indefinitely. Is there a way to get the inspection done and the permit reissued?

Thanks,

Marla

Marla Tauscher
Att01ney at Law
225 S. Lake Ave., Ste. 300
Pasadena, CA 91101

Phone: (626) 345-5777
Cell: (760) 534-3143
e-Fax: (760) 4-14-2742
www.attymat.com

**************************************************************************************************
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 \                              DE.CLARATION OF JULIA M]LDENBERGE.R
 2

 3      I, Julia Mildenberger, declare under oath:
4            I.        I am the founder of Southern California Cat Adoption Tails (hereinafter
 5      "SCCAT'), a non-profit animal rescue organimtion that I started in 2006.
 6                2.   I am the Petitioner/Plaintiff in the present case, No. STCP04242, and the
 7      custodian of the animals that are the subject of this litigation in my individual capacity and
 g      owner of the animals as CEO of the rescue organization.
 9
                  3.   I have first-hand, personal knowledge of the facts set forth in this declaration, and
10      if called and sworn as a witness, I would testify competently to them.
II           4.      SCCAT has saved the lives of thousands of animals in the sixteen years it has
12      been in operation.
13
             5.        SCCAT and myself have held animal facility permits, aka "kennel permits"
14      issued for cats and dogs by the Los Angeles County Department of Animal Control (hereinafter
15      "LADAC'') since I moved SCCAT to my current location in Littlerock, California, in 2011.
16      Attached hereto as Exhibit l is a true and correct copy of the kennel permits for September
17      2021-2022.
lS           6.        The kennel perm.its are renewed annually, subject to inspection by LADAC
19      personnel.

20           7.        Every year since the permits were issued in 20 l I. LADAC has given SCCAT
21      facilities a grade of"A" following inspections by their own personnel. See Exhibit 2 to Petition
22      and Complaint

23           8.        In mid-August 2022 I paid LADAC the annual fees for the kennel permits and
24      LADAC cashed my check on August 23, 2022. See Exhibit I to & Parte Application for a
2s      Temporary Restraining Order.

26           9.        Every year, LADAC personnel conduct a physical inspection of the animal
21      facilities on my property as a condition of renewal of the kennel pennits they issue in both my
2s      name and the name of the rescue, SCCAT.




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           IO.     The kennel permits are valid through September 2 every year, but LADAC has
 2   never conducted an inspection prior to the permits' expiration date, citing personnel shortages.
 3         11.     In fact, LADAC personnel have conducted annual renewal inspections as late as
 4   December in some years.
 s         12.     Because there had been no attempt by LADAC to contact me or to pedbrm their
 6   annual inspection by mid~October 2022, I asked my attorney, Marla Tauscher, to inquire about
 7   the inspection so that the renewed kennel permits could be issued.
 s         13.     On October 18, 2022, Ms. Tauscher, forwarded to me a copy of an email she sent
 9   that day to Harold Holmes, Executive Assistant for LAOAC to try to facilitate the annual
10   inspection. Mr. Holmes forwarded counsel's emaiJ to Lisa Eldridge, LADAC Public Safety
11   Division Manager, who falsely stated that the LADAC inspectors were backlogged and that
12   they would not be able to conduct an inspection of my facility for several weeks. See Exht"bit
B    2 to Ex Parle Application for a Temporary Restraining Order and Exhibit 3 to Petitionfor Writ
14   ofMandate and Complaint for Damages pursuant to 42 U..S.C. §1983.
1s         14.     Early on the morning of October 26, 2022, I wentto theLADAC Palmdale facility
16   to drop off some feral cats to be spayed and neutered, as part of a system of caring for feral

17   cats called Trap-Neuter-Return, or TNR. Feral cats can be very resistant to domestication, and

18   are best handled by sterilization and return to the location they were found.

19         IS.     I arrived back at my property at 7:50 a.m.

20         16.     After! pulled into my driveway, asl was closing the gates, I was accosted by 10-

21   12 Los Angeles County Sheriff deputies in full riot gear, many of whom had their guns
22   unholstered and in their hands.

23         17.     The sheriff deputies ordered me to step off my property and locked me in the back

24   seat off a patrol car for an hour and a half.

25         18.     Sheriff deputies refused to tell me why they were at my property and what was

26   happening. despite my asking several times.

27         19.     After a few hours, a deputy told me the sheriff deputies were there at the request

28   of LADAC who was seizing all the animals on the property.




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     1           20.      I was not made aware that there was a search warrant until nearly 4:00 p.m., when
     2     someone from LADAC handed me a copy of the search wanant, as they were leaving my
     3     property.
 4               21.     Since the seizure of the animals from my property, I have had no further contact
 s         with LADAC. There has been no attempt by LADAC to personalty serve me, or post notice
 6         ofmy right to a post-seizure hearing pursuant to California Penal Code §597.J.
 7               22.     I have devoted decades of my life to rescuing animals.
 s               23.     I have spent thousands of dollars and countless hours caring for unwanted and
 9         abandoned animals.
                 24.     I have spent hundreds of thousands of dollars on improvements to my real
11         property. building kennels and other structures to house animals.
12               25.     I formed a California nonprofit COipOration and obtained tax exempt status

I3         pursuant to section 50l(cX3) of the Internal Reven~e Code for the sole purpose of operating
14         an animal rescue organization.
15               26.     I obtained the necessary pennits/licenses from LADAC to operate an animal

16         facility at my property in Littlerock, CA.

17               27.     i will suffer irreparable harm if my animals are not returned to me, particularly if
18         they are killed or transferred to third parties.
19               28.     Without the animals, my rescue organization will cease to exist. as will my life's
20         mission to provide housing, care, and comfort for defenseless animals.
21

22              I declare under penalty of perjury under the laws of the State of California that the
23       foregoing is true and correct.
24

25                      Executed this 6tt of December, 2022 at Littlerock, California.
26

27

28




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           EXHIBIT 1
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                                  HUMANE ORGANIZATION                                                                  .. ;..-·· .. ·:...:.·   :~
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                     Case 2:23-cv-00056 Document 1-1 Filed 01/05/23 Page 133 of 140 Page ID #:135

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    i VAUDONLY IN T1-E UNINCOR>ORATEDTERRITORV OR IN CONTRACTINGCmESOF LOS ANGELES COUNlY.                                       ~
    ~                                                                                                                                                                                                                         ~



    f       LICENEE FEE                   $ 175,00                             TOTAL               $ 175.00 DATEOFISSUE                           9/2/2021        DATE OF SCPIRATION                        9/212022

                 HUMANE ORGANIZATION
                 CONDITION/LIMITATION APPLY

                            SOUTIIERN CALIFORNIA CATAOOPT[O~ \'.                                                                                                OOUNTY TAX COLLECTOR
                            JULIA Mll.DENBERGER                                  f ' --                    -.,                                                  ard EM-Officio Colllty License Cdlector

                            35162 80TH EAST ST
                            LI'ITLEROCK, CA 93S43                                                                                                                               MARCIA MAYEDA
                                                                                                                                                                     DIRECTOR OF At,lt.N\L OONTROL
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j Faeilily lnsp,ction t,ade:                          A




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  1                                  DECLARATION OF r-.,1/-\RLA TAUSCHER



  3     l, Marla Tauscher, declare under oath:

                   J.   I am an attorney duly licensed and admitted to practice law in the State of
          California.
  6                     I am the a1torncy of r..::cord fr)r Pditioner/Plainti ff Julia 1vlildenberger in the
  7     present case. No. 22STCP04242.

  8           3.         r bave first-hand, personal kno\.v]edge of !he facts st:'l fmth in this declaration, and
  9     if called and sworn as a witness. I would tcstifv competentlv to them.
                                                            ¥            -




              4.        On December 2\ 201:?.. I filed a Verified Petition for Writ of Mandate ,md

J.J.    Complaint for damages pursuant lo 42 U.S.C. §1983 seeking the immediate return of animals

1:2     seized from Pditioncr/PlaintiJT by Los Angeles County Department of' Animal Control

13      (hereinafler "LADAC") on October 26" 2022 from Pelitioner/Plaintiffs residence.

              5.        Oh November 2, 2022. l ,vent to the "iv1ichad Anlooovich Antelope Valley

1 ,:;   Courthouse (hereinn-fler "Lancasli:r Courthouse") to file a NonstatutOJ:v Morion fiJr Return <?f
        Properly in the Criminal Division, bm the clerks refused to file the motion because there was no
.L I    case number because Petitioner/Plainfrff has not been charged wiih any crimes .
18            6.         I filed such a motion in the criminal division of lhe Central Courthouse in San
B       Bernardino Couniy. under similar circumstances. on April 26, 2022 which was assigned a

20      temporary case number and set for a hearing.

21                 7.    On November 4. 2022. Petitioner/Plaintiff filed a Pedtionji:Jr Writ c~f'1\4andale
.'.,2   and Complaint JJW'Sl(/.111{ to .fl   us~c. §1983.
                   8.    When I realized that there ,vas an error in the filing, r contacted Lancaster Court
        on November 7, 2022 to request the filing be rejected.

                   9.    I re-submitted the Peti1ion and Complaint with the Lancaster Comt on November
        7, 2022. The Lancaster Court waited three (J) weeks lo reject the filing, on the basis that



                                       DEC LARA noN OF !VIA.RLA TAUSCHER ISO
                                           E.\' l'.·INTE APPLICA TlON FOR TRO



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 J..                        T(1ree wee/is later, on November 28. 2022. 1 received notice from Lancaster

 2     Courthouse that ~he filing \Vas rejected hecause 2 of the documents \Vere not text searchable.
 3     Attached hereto 4s Exhibit l is a true and correct copy of the notice from Lancaster Courthouse.
               11.          I (,'.:onvertcd the documents to texl searchable documents and re-submitted them
 5     on the same day,jNovember 28, 2022.

               12.          On December 1, 2022. I a!lain was notified bv clerks at Lancaster Courthouse that
                             !                     •   ~   .                    w                                                        .




 7     the filing    \Vas   rqjected. that time citing incorrect court district/location, among other things.
 ii    Attached hereto ~s Exhibit 2 is a true and wm.a:cl copy              or the notice from Lancaster Com1house.
               IJ.          Qi, December 1, 2022, 1 corrected the filings and re-submitted them to the Stanley

10     Mosk Courthousy which accepted the filings within apprnximatcly two (2) hours of'submission.
11           14.            Oji December 6, 2022, the Petitioner/Plaintiff served R.cspondent/Defendant

12     County of Los ,7-ngeles by personal service on the clerk of the board of supervisors ,vith a
u      Summons, Veriqed Petition for Writ of Mandate and Complaint, Request for .Judicial Notice,
111    Civil Case Covers Sheet. and other case commencement documents.
             15.            0(1 December 7, 2022, at 8:36 a.m., I telephoned David Beaudet, deputy county

       counsel for the founty of Los Angeles at his office number: (21 J) 974-1929. the telephone
.1;    number on his optgoing emails to notilY him of my intent to appear ex parte in Dept. 85 of
       Stanley Mosk C~~urthouse on December 8, 2022 at 8:30 a,m. seeking the return of animals to
       Julia Mildenbcrgt·r.

             16.            011 December 7, 202'.::. al' 9:03   a.111.   I transmitted to Mr. Beaudet an t'mail notice

       of my intent to appear ex parte for an application fi.w a temporary restraining order with copies

22     of the E,: Parle ·'1PPlication for a Temporary Restraining Order and Proposed Order.
             17.            In! both my voicemail and email messages, r requested that Mr. Beaudet inform

24     me as to whether someone intends to appear on Thursday, December 8. 2022 at 8:30 a.m. in

25     Department 85 ot'the Stanley I'v1osk Courthouse to oppose the Ex Parte Application for TRO.

26

27
       ------..... .,......---- ---------- -................                        , .. ,-.,....,.,.,,.,   ................,...   _________
                                          DECLARATION OF Mt\RLA TAUSCHER ISO
                                             E.\" P:1/aE· APPLICATION FOR TRO



                                                                                                                                             135
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 J.         18.       I received an email from Mr. Beaudet at 9:20 a.m. informing me !hat he had

 2     fonvarded the notice of ex parte hearing lo bis colleagues, Armita Radjahian and Jill Williams.

 :,,   6L1t did not indicate whether he, or anyone else, intends to appear on December 8~ 2022 to oppose

 4     Petitioner's ex parte application Jhr a TRO.



              r declare. under penalty   of petjury under the laws of the State of California that the
 0
       foregoing is true and correct.




J.6




                                    DECLARATJON OF MARLA TAUSCHER ISO
                                       EX !'AR7T APPLICATION FOR TRO



                                                                                                      136
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           EXHIBIT 1
                                                                        137
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SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
Branch Name: Michael Antonovich Antelope Valley Courthouse
Mailing Address:
City, State and Zip Code:


SHORT TITLE: JULIA MILDENBERGER vs COUNTY OF LOS ANGELES                      CASE NUMBER:


        NOTICE OF COURT REJECTION OF ELECTRONIC FILING

The electronic filing described by the summary data below was reviewed and rejected by the Superior Court of
California, County of LOS ANGELES.

E-Filing Summary Data
Electronically Submitted By: Green Filing
Transaction Number: 22LA01408918
Court received Date: 11/07/2022
Court received Time: 2:50 pm
Notice Generated Date: 11/28/2022
Notice Generated Time: 8:31 am

Documents Electronically Rejected

Petition (name extension)
Civil Case Cover Sheet
Civil Case Cover Sheet
Request (name extension)
Ex Parte Application (name extension)

This electronic filing was rejected based on the following reason(s}
Reject Reason Other: The Petition PDF is non searchable. Please resubmit in a searchable PDF. Thanks




02/09/2017                                  E-FILING REJECTION NOTICE                                Page: 1
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Case 2:23-cv-00056 Document 1-1 Filed 01/05/23 Page 139 of 140 Page ID #:141




          EXHIBIT 2
                                                                        139
        Case 2:23-cv-00056 Document 1-1 Filed 01/05/23 Page 140 of 140 Page ID #:142

SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
Branch Name: Michael Antonovich Antelope Valley Courthouse
Mailing Address:
City, State and Zip Code:


SHORT TITLE: JULIA MILDENBERGER vs COUNTY OF LOS ANGELES                      CASE NUMBER:

        NOTICE OF COURT REJECTION OF ELECTRONIC FILING

The electronic filing described by the summary data below was reviewed and rejected by the Superior Court of
California, County of LOS ANGELES.

E-Filing Summary Data
Electronically Submitted By: Green Filing
Transaction Number: 22LA01498310
Court received Date: 11/28/2022
Court received Time: 12:56 pm
Notice Generated Date: 12/01/2022
Notice Generated Time: 9:04 am

Documents Electronically Rejected

Petition (name extension)
Civil Case Cover Sheet
Civil Case Cover Sheet
Request (name extension)
Ex Parte Application (name extension)
Summons

This electronic filing was rejected based on the following reason(s)
Reject Reason: Incorrect case category and/or case type selected.
Reject Reason: Incorrect Court DistricVCourt Location.
Reject Reason: Incorrect filing code selected.
Reject Reason Other: CM-010 and LASC CIV 109 must be submitted together. Ex Parte document must be
submitted after case number is obtained. Make sure that case type conforms to case information screen, CM-
010, & LASC CIV 109.




02/09/2017                                  E-FILING REJECTION NOTICE                                Page: 1
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